Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 1 of 29




                             Exhibit 2
                             Exhibit 2
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 2 of 29




                                15TH
   IN THE CIRCUIT COURT OF THE 15T
   JUDICIAL CIRCUIT IN AND FOR PALM
   BEACH COUNTY, FLORIDA
                                                        CLASS REPRESENTATION
   CASE NO: 50-2023-CA-000091
   DIVISION: AF

   LINDSEY LEHR, on behalf of herself an
                                      and
   those similarly situated,

                  Plaintiff,

          v.

   CRYO-CELL INTERNATIONAL, INC., a
   foreign corporation

                  Defendant.

                                   ACCEPTANCE OF SERVICE

          The undersigned accepts service of the Summons and Complaint in the above-captioned

   matter as of the date set forth below on behalf of Cryo-Cell International, Inc., which shall have

   until March 21, 2023 to move or otherwise respond including, but not limited to, any motion to

   contest forum, venue, or jurisdiction, or to compel arbitration. Cryo-Cell International, Inc.

   retains all defenses or objections, including to the lawsuit or to the jurisdiction or venue of the

   court, except for objections based on a defect in the summons or in the service of the summons.


          Dated February 13, 2023.                     /s/ Ernest J. Marquart
                                                       Ernest J. Marquart, Florida Bar No. 905860
                                                       Jeffrey B. Fabian, Florida Bar No. 85868
                                                       SHUMAKER, LOOP & KENDRICK, LLP
                                                       101 East Kennedy Blvd., Suite 2800
                                                       Tampa, Florida 33602
                                                       Telephone (813) 229-7600
                                                       Facsimile (813) 229-1660
                                                       emarquart@shumaker.com (Primary e-mail)
                                                       mdesilles@shumaker.com (Secondary e-mail)
                                                       jfabian@shumaker.com (Primary e-mail)
                                                       ldyer@shumaker.com (Secondary e-mail)
                                                       Attorneysforfor Cryo-Cell International, Inc.
       Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 3 of 29
  Filing # 164273509 E-Filed 01/06/2023 05:06:09 PM



                                      15TH
          IN THE CIRCUIT COURT OF THE 15TH
          JUDICIAL CIRCUIT IN AND FOR PALM
          BEACH COUNTY, FLORIDA

             CASE NO: 50-2023-CA-000091
             DIVISION: AF

          LINDSEY LEHR, on behalf of herself and                  CLASS REPRESENTATION
                                                                        REPRESENTATION
          those similarly situated,

                            Plaintiff,

                     v.

          CRYO-CELL INTERNATIONAL, INC., a
          foreign corporation

                            Defendant.


                                                       SUMMONS
                                                       SUMMONS

          THE STATE OF FLORIDA:
          To Each Sheriff of the State:

                   YOU ARE COMMANDED to serve this Summons and a copy of the complaint or petition
          in this action on defendant:

                                         CRYO-CELL INTERNATIONAL, INC.,
                                          Registered Agent: Darrell C. Smither
                                           101 E. Kennedy Blvd., Suite 2800
                                                   Tampa, FL 33602




                                                            1


FILED: PALM BEACH COUNTY, FL, JOSEPH ABRUZZO, CLERK, 01/06/2023 05:06:09 PM
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 4 of 29




           Each defendant is required to serve written defenses to the complaint or petition on Alec
   H. Schultz and Carly A. Kligler, HILGERS GRABEN, PLLC, Plaintiff's attorney, whose address
   is 1221 Brickell Avenue, Suite 900, Miami, Florida 33131, Telephone: 305-630-8304, within
   twenty (20) days after service of this summons on that defendant, exclusive of the day of service,
   and to file the original of the defenses with the clerk of this court either before service on plaintiff's
   attorney or immediately thereafter. If a defendant fails to do so, a default will be entered against
   that defendant for the relief demanded in the complaint of petition.
                                                                        JOSEPH ABRUZZO
                                                                      CLERK OF THE CIRCUIT
                                                                      COURT & COMPTROLLER
                                                c oir CO u


   DATED on     Jan 11 2023                •                              By:
                                                                          Clerk MEMO(

                                                                    atk        JOSIE LUCCE

                                                  '8 -EACH   C C)




                                                               2
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 5 of 29
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 6 of 29
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 7 of 29




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     Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 8 of 29
Filing ## 164227221
Filing    164227221 E-Filed
                    E-Filed 01/06/2023 11:45:14 AM
                            01/06/2023 11:45:14 AM


        IN THE CIRCUIT
        IN THE CIRCUIT COURT
                       COURT OF
                              OF THE 15TH
                                 THE 15TH
        JUDICIAL CIRCUIT IN
        JUDICIAL CIRCUIT    AND FOR
                         IN AND FOR PALM
                                     PALM
        BEACH COUNTY,
        BEACH  COUNTY, FLORIDA
                        FLORIDA

           CASE NO:
           CASE NO: ________________                              Case Number:
                                                                  Case Number: ______________
           DIVISION: ________________
           DIVISION:

        LINDSEY
        LINDSEY LEHR,
                   LEHR, on on behalf
                               behalf of
                                      of herself
                                         herself and
                                                 and
        those similarly
        those similarly situated,
                        situated,

                            Plaintiff,
                            Plaintiff,                            CLASS REPRESENTATION
                                                                  CLASS REPRESENTATION

                    v.
                    v.

        CRYO-CELL INTERNATIONAL,
        CRYO-CELL                    INC., aa
                      INTERNATIONAL, INC.,
        foreign corporation
        foreign corporation

                            Defendant.
                            Defendant.


                                PLAINTIFF’S
                                PLAINTIFF'S COMPLAINT AND JURY
                                            COMPLAINT AND JURY DEMAND
                                                               DEMAND

               Plaintiff Lindsey
               Plaintiff Lindsey Lehr, on behalf
                                 Lehr, on behalf of
                                                 of herself
                                                    herself and
                                                            and all
                                                                all others
                                                                    others similarly
                                                                           similarly situated,
                                                                                     situated, brings
                                                                                               brings this
                                                                                                      this

        action against
        action against Defendant
                       Defendant Cryo-Cell
                                 Cryo-Cell International, Inc. ("Cryo-Cell")
                                           International, Inc. (“Cryo-Cell”) and
                                                                             and alleges
                                                                                 alleges as
                                                                                         as follows:
                                                                                            follows:


                                                  INTRODUCTION
                                                  INTRODUCTION

               1.
               1.        This
                         This is an action
                              is an action to
                                           to address
                                              address Cryo-Cell's
                                                      Cryo-Cell’s false
                                                                  false and
                                                                        and misleading
                                                                            misleading statements
                                                                                       statements to
                                                                                                  to parents
                                                                                                     parents

        throughout the
        throughout the United
                       United States related to
                              States related to the
                                                the efficacy of its
                                                    efficacy of its umbilical
                                                                    umbilical cord
                                                                              cord blood
                                                                                   blood banking
                                                                                         banking program.
                                                                                                 program.

        Although Cryo-Cell
        Although Cryo-Cell charges
                           charges families
                                   families thousands
                                            thousands of
                                                      of dollars
                                                         dollars for
                                                                 for its
                                                                     its services,
                                                                         services, the
                                                                                   the evidence
                                                                                       evidence will
                                                                                                will show
                                                                                                     show

        that those
        that those services
                   services are
                            are largely worthless with
                                largely worthless with regard to their
                                                       regard to their advertised
                                                                       advertised purpose.
                                                                                  purpose.

               2.
               2.        Cryo-Cell collects
                         Cryo-Cell collects and
                                            and stores
                                                stores umbilical
                                                       umbilical cord
                                                                 cord blood
                                                                      blood throughout
                                                                            throughout the
                                                                                       the United
                                                                                           United States by
                                                                                                  States by

        aggressively marketing
        aggressively marketing its
                               its services
                                   services as
                                            as potentially
                                               potentially life-saving treatment options
                                                           life-saving treatment options for children. The
                                                                                         for children. The

        core of
        core of Cryo-Cell's
                Cryo-Cell’s objectively manipulative and
                            objectively manipulative and deceptive
                                                         deceptive message
                                                                   message to
                                                                           to expectant parents is
                                                                              expectant parents    that,
                                                                                                is that,

        by storing
        by storing their
                   their child's
                         child’s cord blood following
                                 cord blood following childbirth, the stem
                                                      childbirth, the stem cells
                                                                           cells in
                                                                                 in their
                                                                                    their child's
                                                                                          child’s cord
                                                                                                  cord blood
                                                                                                       blood

        can treat
        can treat at
                  at least eighty serious
                     least eighty serious medical
                                          medical conditions
                                                  conditions that
                                                             that the
                                                                  the child
                                                                      child or
                                                                            or her
                                                                               her siblings
                                                                                   siblings may
                                                                                            may develop.
                                                                                                develop.


                                                            1
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 9 of 29




   Additionally, Cryo-Cell
   Additionally, Cryo-Cell touts
                           touts aa sweeping
                                    sweeping range
                                             range of
                                                   of additional
                                                      additional medical
                                                                 medical conditions
                                                                         conditions and
                                                                                    and injuries
                                                                                        injuries for
                                                                                                 for

   which cord-blood
   which cord-blood may
                    may be
                        be approved
                           approved for treatment in
                                    for treatment    the future.
                                                  in the future.

          3.
          3.      What Cryo-Cell
                  What Cryo-Cell does
                                 does not
                                      not tell
                                          tell expectant
                                               expectant parents
                                                         parents is that the
                                                                 is that the odds
                                                                             odds that
                                                                                  that their
                                                                                       their child
                                                                                             child can
                                                                                                   can

   ever use
   ever use their
            their own
                  own cord blood for
                      cord blood for treatment
                                     treatment are
                                               are virtually
                                                   virtually zero. Contrary to
                                                             zero. Contrary to Cryo-Cell's
                                                                               Cryo-Cell’s claims,
                                                                                           claims, the
                                                                                                   the

   Food and
   Food and Drug
            Drug Administration
                 Administration ("FDA")
                                (“FDA”) has
                                        has only
                                            only approved
                                                 approved the
                                                          the use of aa child's
                                                              use of    child’s own
                                                                                own cord
                                                                                    cord blood
                                                                                         blood for
                                                                                               for

   treatment of
   treatment of seven
                seven medical
                      medical conditions—not
                              conditions—not eighty plus. This
                                             eighty plus.      is because
                                                          This is because aa child’s
                                                                             child's own cord blood
                                                                                     own cord blood

   often contains
   often contains the
                  the same
                      same defects
                           defects that
                                   that caused
                                        caused the
                                               the underlying
                                                   underlying medical
                                                              medical condition
                                                                      condition for which treatment
                                                                                for which treatment

   is sought.
   is sought. In
              In fact,
                 fact, Cryo-Cell's
                       Cryo-Cell’s own
                                   own statistics indicate that,
                                       statistics indicate that, of
                                                                 of their
                                                                    their 500,000-plus customers over
                                                                          500,000-plus customers over

   the past
   the past 20
            20 years,
               years, only
                      only 2
                           2 children have used
                             children have      their own
                                           used their own cord
                                                          cord blood
                                                               blood for FDA-approved medical
                                                                     for FDA-approved medical

   treatment. And,
   treatment. And, while
                   while Cryo-Cell
                         Cryo-Cell also
                                   also pushes
                                        pushes the
                                               the use
                                                   use of
                                                       of aa child’s cord blood
                                                             child's cord blood for
                                                                                for treatment
                                                                                    treatment of
                                                                                              of

   siblings’ medical
   siblings' medical conditions,
                     conditions, such
                                 such use
                                      use is still incredibly
                                          is still incredibly rare—fewer than .0074%
                                                              rare—fewer than .0074% of
                                                                                     of Cryo-Cell
                                                                                        Cryo-Cell

   customers.
   customers.

          4.
          4.      Unsurprisingly, Cryo-Cell
                  Unsurprisingly, Cryo-Cell does not reasonably
                                            does not reasonably disclose
                                                                disclose these
                                                                         these statistics
                                                                               statistics to
                                                                                          to expectant
                                                                                             expectant

   parents. Nor
   parents. Nor does
                does it
                     it reasonably disclose that
                        reasonably disclose that the
                                                 the vast
                                                     vast majority
                                                          majority of
                                                                   of cord-blood
                                                                      cord-blood transplants
                                                                                 transplants come
                                                                                             come from
                                                                                                  from

   public banks,
   public banks, or
                 or that
                    that there
                         there may
                               may not
                                   not be
                                       be enough stem cells
                                          enough stem cells in
                                                            in aa collection
                                                                  collection to
                                                                             to be
                                                                                be viable
                                                                                   viable in
                                                                                          in aa medical
                                                                                                medical

   treatment setting.
   treatment setting. This is especially
                      This is especially true
                                         true as
                                              as aa child
                                                    child ages,
                                                          ages, since
                                                                since the
                                                                      the quantity of stem
                                                                          quantity of stem cells
                                                                                           cells required
                                                                                                 required

   for any given
   for any given treatment
                 treatment increases as well.
                           increases as well. Yet
                                              Yet Cryo-Cell
                                                  Cryo-Cell willingly
                                                            willingly sells
                                                                      sells parents
                                                                            parents storage
                                                                                    storage of
                                                                                            of stem
                                                                                               stem

   cells for
   cells for eighteen years knowing
             eighteen years         that for
                            knowing that     the vast
                                         for the      majority of
                                                 vast majority of this
                                                                  this time
                                                                       time the
                                                                            the quantity
                                                                                quantity of
                                                                                         of cells
                                                                                            cells collected
                                                                                                  collected

   at birth
   at birth is
            is inadequate for any
               inadequate for any form of treatment.
                                  form of treatment. Further,
                                                     Further, Cryo-Cell
                                                              Cryo-Cell downplays
                                                                        downplays the
                                                                                  the odds
                                                                                      odds of
                                                                                           of aa child
                                                                                                 child

   finding
   finding aa match
              match through
                    through public
                            public cord
                                   cord blood
                                        blood banks
                                              banks or
                                                    or other
                                                       other sources.
                                                             sources. And
                                                                      And in the process,
                                                                          in the process, Cryo-Cell
                                                                                          Cryo-Cell

   diverts hundreds
   diverts hundreds of
                    of thousands
                       thousands of
                                 of units
                                    units of
                                          of cord
                                             cord blood
                                                  blood that
                                                        that might
                                                             might otherwise go to
                                                                   otherwise go to public
                                                                                   public banks
                                                                                          banks—

   where they
   where they can
              can be
                  be matched
                     matched with
                             with an
                                  an individual
                                     individual in
                                                in need—to
                                                   need—to warehouses
                                                           warehouses where
                                                                      where the
                                                                            the cord
                                                                                cord blood
                                                                                     blood will
                                                                                           will

   almost certainly
   almost certainly sit
                    sit dormant.
                        dormant.



                                                        2
                                                        2
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 10 of 29




           5.
           5.      By preying
                   By preying on
                              on the
                                 the fears
                                     fears of
                                           of expectant
                                              expectant parents
                                                        parents in
                                                                in return
                                                                   return for essentially nothing
                                                                          for essentially         but
                                                                                          nothing but

   false hope,
   false       Cryo-Cell reaps
         hope, Cryo-Cell reaps thousands
                               thousands of
                                         of dollars
                                            dollars from customers like
                                                    from customers like Plaintiff
                                                                        Plaintiff by
                                                                                  by charging
                                                                                     charging

   exorbitant processing
   exorbitant processing and
                         and storage
                             storage fees.
                                     fees. Plaintiff,
                                           Plaintiff, on
                                                      on behalf
                                                         behalf of
                                                                of herself
                                                                   herself and
                                                                           and class
                                                                               class members
                                                                                     members defined
                                                                                             defined

   below, brings
   below, brings this
                 this class action to
                      class action to redress
                                      redress injuries
                                              injuries suffered
                                                       suffered because
                                                                because of
                                                                        of Cryo-Cell's
                                                                           Cryo-Cell’s objectively
                                                                                       objectively

   deceptive, unfair,
   deceptive, unfair, and
                      and fraudulent practices.
                          fraudulent practices.


                               PARTIES, JURISDICTION AND
                               PARTIES, JURISDICTION AND VENUE
                                                         VENUE

           6.
           6.      Plaintiff Lindsey
                   Plaintiff Lindsey Lehr is an
                                     Lehr is an individual
                                                individual who
                                                           who is
                                                               is domiciled
                                                                  domiciled in,
                                                                            in, and
                                                                                and is
                                                                                    is aa citizen
                                                                                          citizen of,
                                                                                                  of, Palm
                                                                                                      Palm

   Beach County,
   Beach County, Florida.
                 Florida. Plaintiff
                          Plaintiff brings
                                    brings this
                                           this action
                                                action for
                                                       for aa declaratory
                                                              declaratory judgment
                                                                          judgment and
                                                                                   and damages
                                                                                       damages against
                                                                                               against

   Cryo-Cell based
   Cryo-Cell based on
                   on Fla.
                      Fla. Stat. § 501.211
                           Stat. §         and Florida
                                   501.211 and Florida common
                                                       common law.
                                                              law.

           7.
           7.      Defendant Cryo-Cell
                   Defendant Cryo-Cell is,
                                       is, upon
                                           upon information
                                                information and
                                                            and belief,
                                                                belief, aa Delaware
                                                                           Delaware corporation
                                                                                    corporation with
                                                                                                with

   its principal
   its principal place
                 place of
                       of business
                          business in
                                   in Florida.
                                      Florida. Cryo-Cell
                                               Cryo-Cell routinely
                                                         routinely conducts
                                                                   conducts business,
                                                                            business, is
                                                                                      is registered
                                                                                         registered to
                                                                                                    to

   do business,
   do business, and
                and maintains
                    maintains an
                              an office
                                 office for service of
                                        for service of process
                                                       process in
                                                               in Florida.
                                                                  Florida.

           8.
           8.      This Court has
                   This Court has jurisdiction
                                  jurisdiction over
                                               over Cryo-Cell
                                                    Cryo-Cell because
                                                              because its
                                                                      its principal
                                                                          principal place
                                                                                    place of
                                                                                          of business
                                                                                             business

   is in
   is in Florida.
         Florida. In addition and/or
                  In addition and/or in
                                     in the
                                        the alternative,
                                            alternative, this
                                                         this Court
                                                              Court has
                                                                    has jurisdiction
                                                                        jurisdiction over
                                                                                     over Cryo-Cell
                                                                                          Cryo-Cell

   because it
   because it entered into aa contract
              entered into    contract with
                                       with Plaintiff
                                            Plaintiff in
                                                      in Florida
                                                         Florida and
                                                                 and committed
                                                                     committed tortious
                                                                               tortious conduct
                                                                                        conduct in
                                                                                                in

   Florida, resulting
   Florida, resulting in
                      in injury
                         injury to
                                to Plaintiff.
                                   Plaintiff.

           9.
           9.      Venue is
                   Venue is proper
                            proper in
                                   in this
                                      this Court
                                           Court because
                                                 because Cryo-Cell
                                                         Cryo-Cell entered
                                                                   entered into
                                                                           into aa contract
                                                                                   contract with
                                                                                            with

   Plaintiff in
   Plaintiff in this
                this County,
                     County, aa substantial
                                substantial amount
                                            amount of
                                                   of the
                                                      the events
                                                          events giving
                                                                 giving rise
                                                                        rise to
                                                                             to the
                                                                                the cause
                                                                                    cause of
                                                                                          of action
                                                                                             action

   occurred in
   occurred    this county,
            in this         Plaintiff resides
                    county, Plaintiff         in this
                                      resides in this county,
                                                      county, and
                                                              and Plaintiff
                                                                  Plaintiff incurred injury in
                                                                            incurred injury    this county.
                                                                                            in this county.

           10.
           10.     All conditions
                   All conditions precedent
                                  precedent to
                                            to the
                                               the bringing
                                                   bringing of
                                                            of this
                                                               this action
                                                                    action have
                                                                           have occurred,
                                                                                occurred, or
                                                                                          or Cryo-Cell
                                                                                             Cryo-Cell

   has waived
   has waived them.
              them.




                                                        33
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 11 of 29




                    FACTUAL ALLEGATIONS
                    FACTUAL ALLEGATIONS COMMON
                                        COMMON TO ALL COUNTS
                                               TO ALL COUNTS

          11.
          11.      Cord blood
                   Cord blood consists of aa child's
                              consists of    child’s blood
                                                     blood and
                                                           and other
                                                               other biological
                                                                     biological material,
                                                                                material, including
                                                                                          including

   hematopoietic stem
   hematopoietic stem cells,
                      cells, that
                             that remain
                                  remain in
                                         in the
                                            the umbilical
                                                umbilical cord
                                                          cord and
                                                               and placenta
                                                                   placenta after
                                                                            after the
                                                                                  the child
                                                                                      child is
                                                                                            is born.
                                                                                               born.

   The stem cells
   The stem cells in cord blood
                  in cord blood are
                                are unique
                                    unique because
                                           because they
                                                   they can
                                                        can mature
                                                            mature into
                                                                   into different
                                                                        different types
                                                                                  types of
                                                                                        of blood
                                                                                           blood cells
                                                                                                 cells

   in the
   in the body.
          body. As
                As such,
                   such, the
                         the use
                             use of
                                 of stem
                                    stem cells
                                         cells from
                                               from cord blood is
                                                    cord blood    approved by
                                                               is approved by the
                                                                              the FDA
                                                                                  FDA to
                                                                                      to treat
                                                                                         treat certain
                                                                                               certain

   diseases and
   diseases and blood
                blood related disorders, including
                      related disorders, including certain
                                                   certain kinds of leukemia
                                                           kinds of leukemia and
                                                                             and lymphoma.
                                                                                 lymphoma. Cord
                                                                                           Cord

   blood is
   blood is collected
            collected by
                      by hospital
                         hospital staff
                                  staff after
                                        after the
                                              the umbilical
                                                  umbilical cord
                                                            cord is
                                                                 is cut
                                                                    cut and
                                                                        and clamped.
                                                                            clamped. The blood is
                                                                                     The blood is then
                                                                                                  then

   drawn from
   drawn from the
              the umbilical
                  umbilical cord
                            cord with
                                 with aa needle,
                                         needle, attached
                                                 attached to
                                                          to aa bag,
                                                                bag, and
                                                                     and shipped
                                                                         shipped to
                                                                                 to aa cord
                                                                                       cord blood
                                                                                            blood "bank"
                                                                                                  “bank”

   and cryogenically
   and               frozen for
       cryogenically frozen for future use. 1
                                future use.1

          12.
          12.      Children can
                   Children can receive treatment from
                                receive treatment      cord-blood in
                                                  from cord-blood in one
                                                                     one of
                                                                         of two
                                                                            two ways:
                                                                                ways: an
                                                                                      an allogeneic
                                                                                         allogeneic

   transplant, in
   transplant, in which
                  which the
                        the child
                            child receives
                                  receives cord
                                           cord blood
                                                blood donated
                                                      donated by
                                                              by another
                                                                 another person
                                                                         person who
                                                                                who has
                                                                                    has aa cellular
                                                                                           cellular

   match to
   match to the
            the child, or in
                child, or in much
                             much rarer
                                  rarer circumstances,
                                        circumstances, through
                                                       through an
                                                               an autologous
                                                                  autologous transplant,
                                                                             transplant, where
                                                                                         where aa child
                                                                                                  child

   uses his
   uses his or
            or her
               her own
                   own cord blood. 2
                       cord blood.2

          13.
          13.      Likewise, cord blood
                   Likewise, cord blood itself is stored
                                        itself is stored in
                                                         in one
                                                            one of
                                                                of two
                                                                   two ways.
                                                                       ways. It is either
                                                                             It is either donated
                                                                                          donated by
                                                                                                  by aa

   child’s parent
   child's parent to
                  to aa public
                        public bank
                               bank or
                                    or it
                                       it is
                                          is banked
                                             banked through
                                                    through aa private
                                                               private entity.
                                                                       entity. In the case
                                                                               In the      of public
                                                                                      case of public cord
                                                                                                     cord

   blood banks,
   blood banks, the
                the stem
                    stem cells
                         cells in the donated
                               in the donated cord
                                              cord blood
                                                   blood can
                                                         can be
                                                             be used
                                                                used by
                                                                     by anyone
                                                                        anyone who
                                                                               who is
                                                                                   is aa match
                                                                                         match and
                                                                                               and

   could benefit
   could benefit from
                 from treatment.
                      treatment. Public
                                 Public cord-blood
                                        cord-blood banks
                                                   banks charge
                                                         charge nothing
                                                                nothing for
                                                                        for donation
                                                                            donation or
                                                                                     or storage
                                                                                        storage of
                                                                                                of

        blood. 3
   cord blood.3
   cord

          14.
          14.      Private cord
                   Private cord blood
                                blood banking
                                      banking exists so that
                                              exists so that parents
                                                             parents have the option
                                                                     have the        to use
                                                                              option to use their
                                                                                            their child's
                                                                                                  child’s

   cord blood
   cord blood through
              through autologous
                      autologous treatment
                                 treatment for the child
                                           for the child herself
                                                         herself or
                                                                 or through
                                                                    through allogeneic
                                                                            allogeneic transfer
                                                                                       transfer for
                                                                                                for aa

   close family
   close        member—usually aa sibling.
         family member—usually    sibling. And
                                           And the
                                               the private
                                                   private cord-blood industry is
                                                           cord-blood industry    booming. By
                                                                               is booming. By


      11 Cord  Blood Banking:
         Cord Blood   Banking: FAQs, AM. C
                               FAQs, AM.   OLL. OF OBSTETRICIANS
                                          COLL.    OBSTETRICIANS AND GYNECOLOGISTS
                                                                      GYNECOLOGISTS (last
                                                                                    (last visited
                                                                                          visited
   Nov. 9,
   Nov.      2022), https://www.acog.org/womens-health/faqs/cord-blood-banking.
          9, 2022), https://www.acog.org/womens-health/faqs/cord-blood-banking.
       2
         Id.
      2 1d
       3
         Id.
       3 1d.


                                                       4
                                                       4
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 12 of 29




   some estimates,
   some estimates, the
                   the private
                       private cord
                               cord blood
                                    blood banking
                                          banking market
                                                  market was
                                                         was worth
                                                             worth $27.8 billion as
                                                                   $27.8 billion as of
                                                                                    of 2020
                                                                                       2020 and
                                                                                            and is
                                                                                                is

   expected to
   expected to continue growing. 4 Over
               continue growing.4  Over 2.5%
                                        2.5% of
                                             of births
                                                births in
                                                       in the
                                                          the United
                                                              United States opt for
                                                                     States opt for cord-blood
                                                                                    cord-blood

   storage, and
   storage, and as
                as of
                   of 2017,
                      2017, there
                            there were
                                  were approximately
                                       approximately 55 million
                                                        million cord
                                                                cord blood
                                                                     blood units
                                                                           units in
                                                                                 in private
                                                                                    private cord-blood
                                                                                            cord-blood

   banks. 5
   banks.5

              15.
              15.   Cryo-Cell is
                    Cryo-Cell    one of
                              is one of the
                                        the oldest and most
                                            oldest and most prominent
                                                            prominent private
                                                                      private cord-blood
                                                                              cord-blood banks.
                                                                                         banks.

   Founded in
   Founded    1989, Cryo-Cell
           in 1989, Cryo-Cell claims
                              claims that
                                     that it has more
                                          it has more than
                                                      than 500,000
                                                           500,000 clients worldwide and
                                                                   clients worldwide and boasts
                                                                                         boasts

   that, unlike
   that, unlike many
                many banking
                     banking entities,
                             entities, it
                                       it "operates
                                          “operates its
                                                    its own
                                                        own state-of-the-art
                                                            state-of-the-art processing,
                                                                             processing, testing
                                                                                         testing and
                                                                                                 and

                    operation.” 6
   cryopreservation operation."6
   cryopreservation

              16.
              16.   Currently, Cryo-Cell
                    Currently, Cryo-Cell offers
                                         offers an
                                                an option
                                                   option for
                                                          for the
                                                              the collection
                                                                  collection and
                                                                             and storage
                                                                                 storage of
                                                                                         of cord
                                                                                            cord blood
                                                                                                 blood

   alone and
   alone and an
             an option
                option for
                       for storage
                           storage of
                                   of cord
                                      cord blood
                                           blood and
                                                 and cord
                                                     cord tissue.
                                                          tissue. Within
                                                                  Within each
                                                                         each of
                                                                              of those
                                                                                 those options,
                                                                                       options, Cryo-
                                                                                                Cryo-

   Cell provides
   Cell provides aa "standard"
                    “standard” and
                               and "premium"
                                   “premium” option.
                                             option. The premium option
                                                     The premium option allegedly
                                                                        allegedly uses
                                                                                  uses aa cord-
                                                                                          cord-

   blood processing
   blood processing technology
                    technology called PrepaCyte-CB, "which
                               called PrepaCyte-CB, “which yields
                                                           yields the
                                                                  the maximum
                                                                      maximum recovery
                                                                              recovery of
                                                                                       of

   healthy stem
   healthy stem cells
                cells and
                      and provides
                          provides superior
                                   superior red
                                            red blood
                                                blood cell
                                                      cell depletion
                                                           depletion over
                                                                     over all
                                                                          all other methods.” 7
                                                                              other methods."'

              17.
              17.   The purported benefit
                    The purported benefit of
                                          of storing
                                             storing cord
                                                     cord tissue
                                                          tissue lies in the
                                                                 lies in the different
                                                                             different types
                                                                                       types of
                                                                                             of stem
                                                                                                stem cells
                                                                                                     cells

   present in
   present in the
              the tissue.
                  tissue. Cryo-Cell
                          Cryo-Cell states
                                    states that
                                           that these
                                                these stem
                                                      stem cells
                                                           cells "help
                                                                 “help repair and heal
                                                                       repair and heal the
                                                                                       the body
                                                                                           body in
                                                                                                in

   different ways
   different ways than
                  than cord
                       cord blood,"
                            blood,” including the "ability
                                    including the “ability to
                                                           to inhibit inflammation following
                                                              inhibit inflammation           tissue
                                                                                   following tissue

   damage, [and]
   damage, [and] secrete
                 secrete growth
                         growth factors that aid
                                factors that aid in
                                                 in tissue
                                                    tissue repair
                                                           repair and
                                                                  and differentiate into many
                                                                      differentiate into many cell
                                                                                              cell types
                                                                                                   types



       4
       4  U.S.
          U.S. Cord   Blood Banking
                Cord Blood    Banking Services
                                       Services Market
                                                 Market Size,
                                                          Size, Share
                                                                Share &
                                                                      & Trends               Report, G
                                                                                 Analysis Report,
                                                                         Trends Analysis               RAND
                                                                                                     GRAND
   VIEW RESEARCH
   VIEW     RESEARCH (last
                         (last visited
                               visited Nov.
                                        Nov. 9,   2022), https://www.grandviewresearch.com/industry-
                                              9, 2022),    https://www.grandviewresearch.com/industry-
   analysis/us-cord-blood-banking-services-
   analysis/us-cord-blood-banking-     services-
   market#:~:text=b.,USD%2027.8%20billion%20in%202020.
   market#:—:text=b.,USD%2027.8%20billion%20in%202020.
       5
          See id.;
       5 See        AAP stresses
               id.; AAP stresses value  of public
                                 value of  public vs. private cord
                                                  vs. private  cord blood
                                                                    blood banks,  HEALIO (Oct.
                                                                          banks, HEALIO     (Oct. 30,
                                                                                                  30, 2017),
                                                                                                      2017),
   https://www.healio.com/news/pediatrics/20171027/aap-stresses-value-of-public-vs-private-cord-
   https ://www.healio.com/news/pediatrics/20171027/aap-stresses-value-of-public-vs-private-cord-
   blood-banks.
   blood-banks.
       6
       6 Corporate
           Corporate Overview
                        Overview andand Mission,     CRYO-CELL INT'L
                                          Mission, CRYO-CELL        INT’L (last
                                                                          (last visited
                                                                                 visited Nov.
                                                                                           Nov. 9,    2022),
                                                                                                   9, 2022),
   https://www.cryo-cell.com/about/corporate-overview-mission.
   https ://www.cryo-cell.com/about/comorate-overview-mission.
       7
          PrepaCyte-CB: Choice
       7 PrepaCyte-CB:              cord blood
                            Choice cord          processing method,
                                          blood processing             Cryo-cell Int’l
                                                             method, Cryo-cell         (last visited
                                                                                 Int'l (last         Nov. 9,
                                                                                             visited Nov. 9,
   2022), https://www.cryo-cell.com/difference/processing-technology.
   2022),   https://www.cryo-cell.com/difference/processing-technology.
                                                        55
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 13 of 29




   including neural
   including neural cells,
                    cells, bone
                           bone cells,
                                cells, fat
                                       fat cells     cartilage.” 8 Cryo-Cell
                                                 and cartilage."8
                                           cells and               Cryo-Cell then
                                                                             then posits
                                                                                  posits that
                                                                                         that "extremely
                                                                                              “extremely

   promising” research
   promising" research is
                       is underway
                          underway concerning
                                   concerning the
                                              the use
                                                  use of
                                                      of stem
                                                         stem cells
                                                              cells in
                                                                    in cord tissue to
                                                                       cord tissue to treat
                                                                                      treat ALS,
                                                                                            ALS,

   Alzheimer’s, Parkinson's,
   Alzheimer's, Parkinson’s, diabetes,
                             diabetes, Muscular
                                       Muscular Dystrophy,
                                                Dystrophy, strokes,
                                                           strokes, and
                                                                    and other
                                                                        other injuries and medical
                                                                              injuries and medical

   conditions. 9 Based
   conditions.9  Based on
                       on this
                          this "extremely
                               “extremely promising"
                                          promising” research,
                                                     research, Cryo-Cell
                                                               Cryo-Cell advises
                                                                         advises parents
                                                                                 parents that
                                                                                         that tissue
                                                                                              tissue

   storage can
   storage can "increase
               “increase their
                         their child's
                               child’s access
                                       access to
                                              to these
                                                 these treatments
                                                       treatments in
                                                                  in the future.” 10 According
                                                                     the future."1°  According to
                                                                                               to Cryo-
                                                                                                  Cryo-

   Cell, over
   Cell, over 60 percent of
              60 percent of its
                            its customers
                                customers elect
                                          elect to
                                                to store
                                                   store both
                                                         both cord blood and
                                                              cord blood and cord tissue. 11
                                                                             cord tissue.11

          18.
          18.     None of
                  None of Cryo-Cell's
                          Cryo-Cell’s services
                                      services comes
                                               comes cheaply. To store
                                                     cheaply. To store cord
                                                                       cord blood
                                                                            blood alone,
                                                                                  alone, the
                                                                                         the

   “Processing, Testing
   "Processing,         & Medical
                Testing & Medical Courier"
                                  Courier” fees run $1,500
                                           fees run $1,500 for the standard
                                                           for the standard plan
                                                                            plan and
                                                                                 and $1,850 for the
                                                                                     $1,850 for the

   premium plan.
   premium plan. Under
                 Under either
                       either plan,
                              plan, parents
                                    parents pay
                                            pay $185
                                                $185 for the first
                                                     for the       year of
                                                             first year of storage
                                                                           storage for
                                                                                   for aa total
                                                                                          total up-front
                                                                                                up-front

   cost of
   cost of $1,685 for the
           $1,685 for the standard
                          standard plan
                                   plan and
                                        and $2,035
                                            $2,035 for the premium
                                                   for the premium plan.
                                                                   plan. After
                                                                         After that,
                                                                               that, parents
                                                                                     parents must
                                                                                             must pay
                                                                                                  pay

   an annual
   an annual storage
             storage fee
                     fee of
                         of $185.
                            $185. By
                                  By the
                                     the child's
                                         child’s eighteenth
                                                 eighteenth birthday,
                                                            birthday, parents
                                                                      parents will
                                                                              will have
                                                                                   have paid
                                                                                        paid $4,830
                                                                                             $4,830

   for the standard
   for the standard plan
                    plan and
                         and $5,180
                             $5,180 for
                                    for the
                                        the premium plan. 12
                                            premium plan.12

          19.
          19.     The
                  The cost to store
                      cost to store cord
                                    cord blood
                                         blood and
                                               and tissue
                                                   tissue is
                                                          is substantially
                                                             substantially higher.
                                                                           higher. Like cord-blood
                                                                                   Like cord-blood

   storage alone,
   storage alone, this
                  this option
                       option includes
                              includes aa standard
                                          standard and
                                                   and premium
                                                       premium option.
                                                               option. The standard option
                                                                       The standard option costs
                                                                                           costs

   $2,470 for
   $2,470 for "Processing,
              “Processing, Testing & Medical
                           Testing & Medical Courier,"
                                             Courier,” while
                                                       while the
                                                             the premium
                                                                 premium plan
                                                                         plan is
                                                                              is $2,820.
                                                                                 $2,820. Either
                                                                                         Either

   option requires
   option          the first
          requires the first year
                             year of
                                  of storage
                                     storage up
                                             up front,
                                                front, which
                                                       which is
                                                             is $370. Parents then
                                                                $370. Parents then pay
                                                                                   pay an
                                                                                       an additional
                                                                                          additional

   $370 per
   $370 per year
            year after
                 after that.
                       that. By
                             By the
                                the child's
                                    child’s eighteenth
                                            eighteenth birthday,
                                                       birthday, parents
                                                                 parents will
                                                                         will have
                                                                              have paid
                                                                                   paid $9,130
                                                                                        $9,130 for
                                                                                               for the
                                                                                                   the

   standard option
   standard option and
                   and $9,480
                       $9,480 for the premium
                              for the         plan. 13
                                      premium plan.13




      8
      8   Cord
          Cord Tissue           CRYO-CELL INT'L
                       Banking, CRYO-CELL
                Tissue Banking,            INT’L (last
                                                 (last visited
                                                       visited Nov.
                                                               Nov. 9,  2022), https://www.cryo-
                                                                     9, 2022),  https://www.cryo-
   cell.com/cord-tissue-banking.
   cell.com/cord-tissue-banking.
       9
       9
         Id.
         Id.
       10
       10
          Id.
          Id.
       11
       ii Id.
          Id.
       12
       12 Cost    of Cord
            Cost of         Blood Banking,
                      Cord Blood            CRYO-CELL IINT'L
                                  Banking, CRYO-CELL       NT’L (last
                                                                 (last visited
                                                                        visited Nov.
                                                                                 Nov. 9,    2022),
                                                                                         9, 2022),
   https://www.cryo-cell.com/cord-blood-banking-costs.
   https://www.cryo-cell.com/cord-blood-banking-costs.
       13
          Id.
       13 Id.


                                                       66
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 14 of 29




           20.
           20.    Lastly, Cryo-Cell also
                  Lastly, Cryo-Cell also gives
                                         gives parents
                                               parents the
                                                       the option
                                                           option to
                                                                  to prepay
                                                                     prepay for
                                                                            for everything
                                                                                everything up
                                                                                           up front.
                                                                                              front.

   But parents
   But parents receive
               receive no
                       no discount
                          discount for
                                   for this
                                       this option—the
                                            option—the total
                                                       total cost
                                                             cost of
                                                                  of the
                                                                     the standard
                                                                         standard or
                                                                                  or premium
                                                                                     premium plans
                                                                                             plans

   for either cord
   for either cord blood
                   blood only or cord
                         only or cord blood
                                      blood plus
                                            plus tissue
                                                 tissue storage
                                                        storage are
                                                                are the
                                                                    the same
                                                                        same as
                                                                             as the
                                                                                the annual
                                                                                    annual installments.
                                                                                           installments.

           21.
           21.    To
                  To lure expectant parents
                     lure expectant parents into
                                            into such
                                                 such expensive
                                                      expensive contracts
                                                                contracts on
                                                                          on top
                                                                             top of
                                                                                 of an
                                                                                    an already
                                                                                       already

   expensive childbirth
   expensive childbirth process,
                        process, Cryo-Cell
                                 Cryo-Cell portrays
                                           portrays to
                                                    to the
                                                       the objectively
                                                           objectively reasonable
                                                                       reasonable consumer
                                                                                  consumer that
                                                                                           that its
                                                                                                its

   services are
   services are aa near
                   near all-encompassing
                        all-encompassing biological
                                         biological insurance
                                                    insurance policy
                                                              policy for
                                                                     for their
                                                                         their children.
                                                                               children. For
                                                                                         For example,
                                                                                             example,

   Cryo-Cell touts
   Cryo-Cell touts the
                   the following claims scattered
                       following claims scattered throughout
                                                  throughout its website:
                                                             its website:

                  a. Banking
                  a. Banking "help's]
                             “help[s] protect
                                      protect your
                                              your baby
                                                   baby from
                                                        from 80-plus
                                                             80-plus diseases," and that
                                                                     diseases,” and that "number
                                                                                         “number

                      is expected
                      is expected to
                                  to continue
                                     continue to grow.” 14
                                              to grow."14

                  b. "Someone's
                  b. “Someone’s own
                                own stem
                                    stem cells
                                         cells are
                                               are always
                                                   always aa perfect
                                                             perfect match
                                                                     match for
                                                                           for him
                                                                               him or
                                                                                   or herself.
                                                                                      herself.

                      Siblings share aa 25
                      Siblings share    25 percent
                                           percent chance of being
                                                   chance of being aa perfect
                                                                      perfect match
                                                                              match and
                                                                                    and aa 50 percent
                                                                                           50 percent

                      chance of
                      chance of being
                                being aa partial
                                         partial match.
                                                 match. Altogether,
                                                        Altogether, this
                                                                    this gives
                                                                         gives siblings
                                                                               siblings aa 75
                                                                                           75 percent
                                                                                              percent

                      chance of
                      chance of being
                                being aa possible
                                         possible match.
                                                  match. Since each parent
                                                         Since each parent provides
                                                                           provides markers
                                                                                    markers used
                                                                                            used in
                                                                                                 in

                      matching, parents
                      matching, parents have
                                        have aa 100
                                                100 percent
                                                    percent chance of being
                                                            chance of being aa partial match.” 15
                                                                               partial match."15

                  c. "[C]ord
                  c. “[C]ord blood
                             blood treatments
                                   treatments have
                                              have been
                                                   been performed
                                                        performed more
                                                                  more than
                                                                       than 35,000
                                                                            35,000 times around
                                                                                   times around

                      the globe
                      the globe to
                                to treat
                                   treat cancers
                                         cancers (including
                                                 (including lymphoma and leukemia),
                                                            lymphoma and leukemia), anemias,
                                                                                    anemias,
                                                                                                  16
                      inherited metabolic
                      inherited metabolic disorders
                                          disorders and
                                                    and some
                                                        some solid
                                                             solid tumors
                                                                   tumors and
                                                                          and orthopedic
                                                                              orthopedic repair.”
                                                                                         repair."16

                  d. "Safeguarding
                  d. “Safeguarding your
                                   your newborn stem cells
                                        newborn stem cells is the healthiest
                                                           is the            investment you
                                                                  healthiest investment you can
                                                                                            can

                      make for
                      make for your
                               your baby and your
                                    baby and      family.” 17
                                             your family."17



      14
      14   The Benefits of
           The Benefits of Banking, CRYO-CELL INT'L
                           Banking, CRYO-CELL  INT’L (last visited Nov.
                                                     (last visited Nov. 9, 2022), https://www.cryo-
                                                                        9, 2022), https://www.cryo-
   cell.com/cord-blood/banking-benefits.
   cell.com/cord-blood/banking-benefits.
       15 1d
       15
           Id.
       16
       16 Cord   Blood Banking:
            Cord Blood  Banking: What
                                  What is
                                       is cord
                                          cord blood
                                               blood banking?,   CRYO-CELL IINT'L
                                                     banking?, CRYO-CELL      NT’L (Nov.
                                                                                    (Nov. 9,   2022),
                                                                                            9, 2022),
   https://www.cryo-cell.com/cord-blood-banking.
   https ://www.cryo-cell.com/cord-blood-banking.
       17
           How Does
       17 How   Does Cord  Blood Banking
                     Cord Blood  Banking Work?
                                          Work? Why  Bank Cord
                                                Why Bank                 YOUTUBE (May
                                                                 Blood?, YouTuBE
                                                           Cord Blood?,             (May 20,
                                                                                           20, 2013),
                                                                                               2013),
   https://www.youtube.com/watch?v=uuqGzMd808c.
   https ://www.youtube.com/watch?v=uuqGzMd808c.

                                                      77
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 15 of 29




                  e. "Cord
                  e. “Cord blood
                           blood stem
                                 stem cells are used
                                      cells are used to
                                                     to treat
                                                        treat nearly
                                                              nearly 80 diseases including
                                                                     80 diseases including cerebral
                                                                                           cerebral

                       palsy, leukemia,
                       palsy,           autoimmune diseases,
                              leukemia, autoimmune diseases, and
                                                             and genetic disorders.” 18
                                                                 genetic disorders."18

                  f. Cryo-Cell has
                  f. Cryo-Cell has aa 100%
                                      100% "Viability
                                           “Viability Record,"
                                                      Record,” while
                                                               while the
                                                                     the viability
                                                                         viability records for other
                                                                                   records for other

                       banks is
                       banks    undisclosed. 19
                             is undisclosed.19

                  g.
                  g.    “[Cord blood
                        "[Cord blood is]
                                     is] [p]reserved
                                         [p]reserved for the child
                                                     for the child or
                                                                   or other
                                                                      other family
                                                                            family members
                                                                                   members to
                                                                                           to treat
                                                                                              treat
                                                                          20
                       nearly 80
                       nearly    diseases such
                              80 diseases such as
                                               as leukemia
                                                  leukemia and
                                                           and lymphoma.”
                                                               lymphoma."2°

                  h. "Beyond
                  h. “Beyond the
                             the current
                                 current treatments,
                                         treatments, clinical trials are
                                                     clinical trials are underway
                                                                         underway for
                                                                                  for cord
                                                                                      cord blood's
                                                                                           blood’s

                       use in
                       use in strokes,
                              strokes, heart
                                       heart disease,
                                             disease, diabetes,
                                                      diabetes, and
                                                                and many
                                                                    many more
                                                                         more regenerative therapies.” 21
                                                                              regenerative therapies."21

                  i. "Promising
                  i. “Promising research that could
                                research that       potentially impact
                                              could potentially impact aa countless
                                                                          countless number of lives
                                                                                    number of lives

                       is being
                       is being conducted
                                conducted in the treatment
                                          in the treatment of
                                                           of autism,
                                                              autism, cerebral
                                                                      cerebral palsy,
                                                                               palsy, adult
                                                                                      adult stroke
                                                                                            stroke and
                                                                                                   and
                             22
                       more.”22
                       more. 99




           22.
           22.    Cryo-Cell carefully
                  Cryo-Cell carefully tailors
                                      tailors its marketing to
                                              its marketing to create
                                                               create the
                                                                      the false
                                                                          false impression
                                                                                impression to
                                                                                           to the
                                                                                              the

   objectively reasonable
   objectively reasonable consumer
                          consumer that
                                   that aa child's
                                           child’s own cord blood
                                                   own cord blood can
                                                                  can be
                                                                      be used
                                                                         used to
                                                                              to treat
                                                                                 treat that
                                                                                       that child
                                                                                            child for
                                                                                                  for

   dozens of
   dozens of serious
             serious conditions.
                     conditions. But
                                 But like
                                     like most
                                          most things
                                               things that
                                                      that seem
                                                           seem too
                                                                too good
                                                                    good to
                                                                         to be
                                                                            be true,
                                                                               true, so
                                                                                     so are
                                                                                        are Cryo-
                                                                                            Cryo-

   Cell’s claims.
   Cell's claims. Indeed, they are
                  Indeed, they are misleading
                                   misleading or
                                              or outright
                                                 outright false.
                                                          false.

           23.
           23.    Despite the
                  Despite the obvious
                              obvious impression
                                      impression any
                                                 any reasonable
                                                     reasonable consumer—let
                                                                consumer—let alone
                                                                             alone expectant
                                                                                   expectant

   parents—would take
   parents—would take from Cryo-Cell’s claims,
                      from Cryo-Cell's claims, the
                                               the current
                                                   current odds
                                                           odds of
                                                                of using
                                                                   using aa baby's
                                                                            baby’s own
                                                                                   own cord
                                                                                       cord blood
                                                                                            blood

   for treatment of
   for treatment of any medical condition
                    any medical condition are
                                          are virtually
                                              virtually zero.
                                                        zero. In fact, as
                                                              In fact, as of
                                                                          of 2015,
                                                                             2015, "[t]he
                                                                                   “[t]he chance of baby
                                                                                          chance of baby

   later benefiting
   later benefiting from
                    from his
                         his or
                             or her
                                her own
                                    own banked
                                        banked cord
                                               cord blood
                                                    blood is
                                                          is currently
                                                             currently less
                                                                       less than
                                                                            than 0.04
                                                                                 0.04 percent,
                                                                                      percent,


      18 m.
      18
          Id.
      19
      19   Cord         Banks, C
                 Blood Banks,
           Cord Blood             RYO-CELL INT'L
                                 CRYO-CELL    INT’L (last
                                                    (last visited
                                                          visited Nov.
                                                                    Nov. 9,  2022), https://www.cryo-
                                                                         9, 2022),   https://www.cryo-
   cell.com/cord-blood-banking-comparison.
   cell.com/cord-blood-banking-comparison.
       20
       2° Private vs.
          Private     Public Banking,
                  vs. Public          CRYO-CELL IINT'L
                             Banking, CRYO-CELL    NT’L (last
                                                        (last visited
                                                              visited Nov.
                                                                      Nov. 9,
                                                                           9, 2022), https://www.cryo-
                                                                              2022), https://www.cryo-
   cell.com/cord-blood/private-vs-public-banking.
   cell.com/cord-blood/private-vs-public-banking.
       21
       21 The Benefits of
          The Benefits of Banking, supra note
                          Banking, supra note 14.
                                               14.
       22
       22 Cord   Blood &
           Cord Blood   & Tissue
                            Tissue Clinical
                                   Clinical Trials, CRYO-CELL INT'L
                                            Trials, CRYO-CELL      INT’L (last
                                                                         (last visited
                                                                               visited Nov.
                                                                                        Nov. 9,  2022),
                                                                                              9, 2022),
   https://www.cryo-cell.com/cord-blood-treating-diseases.
   https://www.cryo-cell.com/cord-blood-treating-diseases.

                                                       88
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 16 of 29



                                                                              23
   according to
   according to the
                the [American
                    [American Society for Blood
                              Society for Blood and
                                                and Marrow
                                                    Marrow Transplantation].”
                                                           Transplantation]."23  This is not
                                                                                 This is not only
                                                                                             only

   “because the
   "because the diseases
                diseases currently
                         currently treatable
                                   treatable with
                                             with cord
                                                  cord blood
                                                       blood are
                                                             are fairly
                                                                 fairly rare, but with
                                                                        rare, but with many,
                                                                                       many, the
                                                                                             the child's
                                                                                                 child’s

   cord blood
   cord blood would
              would be
                    be unusable
                       unusable because
                                because those
                                        those stem
                                              stem cells
                                                   cells contain the same
                                                         contain the same genetic defects.” 24 As
                                                                          genetic defects."24  As

   the American
   the American College
                College of
                        of Obstetricians
                           Obstetricians and
                                         and Gynecologists
                                             Gynecologists notes,
                                                           notes, autologous
                                                                  autologous transplants
                                                                             transplants are
                                                                                         are rare
                                                                                             rare

   because aa "child's
   because    “child’s stem
                       stem cells cannot be
                            cells cannot be used
                                            used to
                                                 to treat
                                                    treat genetic
                                                          genetic diseases
                                                                  diseases in that child,"
                                                                           in that child,” as
                                                                                           as "[a]l'
                                                                                              “[a]ll of
                                                                                                     of the
                                                                                                        the

   stem cells
   stem cells have
              have the
                   the same
                       same genes
                            genes that
                                  that cause
                                       cause the disease.” 25
                                             the disease."25

            24.
            24.    Cryo-Cell’s own
                   Cryo-Cell's own data
                                   data bears
                                        bears this
                                              this out.
                                                   out. Although
                                                        Although Cryo-Cell
                                                                 Cryo-Cell repeatedly
                                                                           repeatedly claims
                                                                                      claims that
                                                                                             that

   storing aa baby's
   storing    baby’s cord
                     cord blood
                          blood can be used
                                can be used to
                                            to treat
                                               treat the
                                                     the baby
                                                         baby for
                                                              for 80-plus diseases, Cryo-Cell
                                                                  80-plus diseases, Cryo-Cell is
                                                                                              is careful
                                                                                                 careful

   to hide
   to hide the
           the truth:
               truth: of
                      of those
                         those 80 diseases for
                               80 diseases for which
                                               which the
                                                     the FDA
                                                         FDA has
                                                             has approved
                                                                 approved cord-blood
                                                                          cord-blood treatment,
                                                                                     treatment, only
                                                                                                only

   7 of
   7 of them
        them are
             are approved
                 approved for
                          for autologous
                              autologous treatment,
                                         treatment, the
                                                    the vast
                                                        vast majority
                                                             majority of
                                                                      of which
                                                                         which are
                                                                               are adult-onset
                                                                                   adult-onset

   conditions for
   conditions     which the
              for which the quantity
                            quantity of
                                     of cord
                                        cord blood
                                             blood collected
                                                   collected at
                                                             at birth
                                                                birth would
                                                                      would be
                                                                            be inadequate to use
                                                                               inadequate to use for
                                                                                                 for

   any form
   any form of treatment. 26 The
            of treatment.26  The remaining
                                 remaining conditions are approved
                                           conditions are approved for cord-blood treatment
                                                                   for cord-blood treatment only
                                                                                            only in
                                                                                                 in

   allogeneic treatment.
   allogeneic treatment.

            25.
            25.    Remarkably, of
                   Remarkably, of the
                                  the more
                                      more than
                                           than half-a-million
                                                half-a-million Cryo-Cell
                                                               Cryo-Cell customers over the
                                                                         customers over the past
                                                                                            past

   twenty years,
   twenty years, Cryo-Cell
                 Cryo-Cell customers
                           customers have used their
                                     have used their child's
                                                     child’s cord
                                                             cord blood
                                                                  blood to
                                                                        to treat
                                                                           treat the
                                                                                 the child
                                                                                     child for
                                                                                           for an
                                                                                               an FDA-
                                                                                                  FDA-
                                27
   approved purpose
   approved purpose only
                    only twice.
                         twice.27  In other words,
                                   In other words, despite
                                                   despite Cryo-Cell's
                                                           Cryo-Cell’s promising
                                                                       promising claims that
                                                                                 claims that

   privately banking
   privately banking cord
                     cord blood
                          blood "help
                                “help[s] protect your
                                     [s] protect your baby
                                                      baby from
                                                           from 80-plus
                                                                80-plus diseases,"
                                                                        diseases,” "[s]omeone's
                                                                                   “[s]omeone’s own
                                                                                                own

   stem cells
   stem cells are
              are always
                  always aa perfect
                            perfect match
                                    match for him or
                                          for him or herself,"
                                                     herself,” and
                                                               and that
                                                                   that Cryo-Cell
                                                                        Cryo-Cell has
                                                                                  has aa 100%
                                                                                         100% "Viability
                                                                                              “Viability

   Record,” aa baby's
   Record,"    baby’s cord
                      cord blood
                           blood banked
                                 banked with
                                        with Cryo-Cell
                                             Cryo-Cell is
                                                       is useful
                                                          useful for FDA-approved treatments
                                                                 for FDA-approved treatments for
                                                                                             for


       23
       23 Kelli B.
          Kelli B. Grant,
                   Grant, Is
                          Is Cord Blood Banking
                             Cord Blood   Banking Worth
                                                    Worth the
                                                          the Cost? Here’s What
                                                              Cost? Here's What the Experts Say,
                                                                                the Experts        NBC
                                                                                             Say, NBC
   NEWS (July
   NEWS     (July 29,29, 2015),
                          2015), https://www.nbcnews.com/business/consumer/cord-blood-banking-
                                  https://www.nbcnews.com/business/consumer/cord-blood-banking-
   n400561.
   n400561.
       24 id.
       24
          Id.
       25
       25 Cord  Blood Banking:
          Cord Blood   Banking: FAQs,   supra note
                                 FAQs, supra   note 1.
                                                    1.
       26
       26 Cord  Blood &
          Cord Blood   & Tissue
                          Tissue Clinical
                                 Clinical Trials, supra note
                                          Trials, supra note 22.
                                                             22.
       27
       27 Cord   Blood Transplants:
          Cord Blood    Transplants: Transplant/Infusion           CRYO-CELL IINT'L
                                                           Matrix, CRYO-CELL
                                     Transplant/Infusion Matrix,               NT’L (last
                                                                                     (last visited
                                                                                           visited Nov.
                                                                                                   Nov.
   9, 2022), https://www.cryo-cell.com/cord-blood/banking-benefits/transplant-matrix.
   9, 2022),  https://www.cryo-cell.com/cord-blood/banking-benefits/transplant-matrix.
                                                        9
                                                        9
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 17 of 29




   fewer than .0004%
   fewer than        of Cryo-Cell
              .0004% of Cryo-Cell customers. Defendant’s statements
                                  customers. Defendant's statements are
                                                                    are intentionally
                                                                        intentionally deceptive
                                                                                      deceptive

   and misleading,
   and misleading, designed to induce
                   designed to        new parents
                               induce new parents to
                                                  to spend
                                                     spend thousands
                                                           thousands of
                                                                     of dollars
                                                                        dollars on
                                                                                on aa false sense of
                                                                                      false sense of

   hope and
   hope and security.
            security.

           26.
           26.    Nowhere is
                  Nowhere is this
                             this more
                                  more readily
                                       readily apparent
                                               apparent than
                                                        than from
                                                             from Cryo-Cell's
                                                                  Cryo-Cell’s online marketing
                                                                              online marketing

   material. It
   material. It can be discerned
                can be discerned by
                                 by comparing
                                    comparing the
                                              the chart
                                                  chart of
                                                        of past
                                                           past cord-blood
                                                                cord-blood transplants
                                                                           transplants to
                                                                                       to Cryo-Cell
                                                                                          Cryo-Cell

   customers with
   customers with aa chart
                     chart of
                           of FDA-approved
                              FDA-approved treatments
                                           treatments buried
                                                      buried on
                                                             on another
                                                                another page
                                                                        page of
                                                                             of Cryo-Cell's
                                                                                Cryo-Cell’s

   website. 28 Cryo-Cell
   website.28  Cryo-Cell likewise
                         likewise markets
                                  markets its storage services
                                          its storage services as
                                                               as biological
                                                                  biological insurance
                                                                             insurance for
                                                                                       for aa donor's
                                                                                              donor’s

   siblings or
   siblings or other
               other family
                     family members,
                            members, but
                                     but those
                                         those claims
                                               claims are
                                                      are similarly
                                                          similarly flawed. Based on
                                                                    flawed. Based on the
                                                                                     the same
                                                                                         same chart,
                                                                                              chart,

   it appears
   it appears that
              that Cryo-Cell's
                   Cryo-Cell’s customers
                               customers have
                                         have used
                                              used one
                                                   one of
                                                       of their
                                                          their children's
                                                                children’s cord
                                                                           cord blood
                                                                                blood in
                                                                                      in FDA-
                                                                                         FDA-

   approved treatment
   approved treatment for one of
                      for one of the
                                 the donor’s siblings only
                                     donor's siblings only 37 times over
                                                           37 times over 20
                                                                         20 years-or
                                                                            years—or fewer
                                                                                     fewer than
                                                                                           than

   .0074% of
   .0074% of Cryo-Cell
             Cryo-Cell customers. The other
                       customers. The other 81 uses of
                                            81 uses of aa Cryo-Cell
                                                          Cryo-Cell donor’s cord blood,
                                                                    donor's cord blood, for
                                                                                        for either
                                                                                            either

   autologous or
   autologous or allogeneic
                 allogeneic treatment,
                            treatment, appear
                                       appear to
                                              to be
                                                 be associated
                                                    associated with
                                                               with clinical
                                                                    clinical trials
                                                                             trials for medical
                                                                                    for medical

   conditions not
   conditions not approved
                  approved for cord-blood treatment
                           for cord-blood treatment by
                                                    by the
                                                       the FDA.
                                                           FDA.

           27.
           27.    Nor is
                  Nor    that the
                      is that the only
                                  only instance
                                       instance of
                                                of Cryo-Cell's
                                                   Cryo-Cell’s objectively
                                                               objectively false and misleading
                                                                           false and misleading

   marketing. For
   marketing. For example,
                  example, Cryo-Cell boasts that
                           Cryo-Cell boasts that it
                                                 it has
                                                    has aa 100%
                                                           100% “Viability          while other
                                                                           Record,” while
                                                                "Viability Record,"       other
                                                   29
   cord-blood banks
   cord-blood banks do
                    do not disclose their
                       not disclose their figures.
                                          figures.29  But nowhere
                                                      But nowhere on
                                                                  on that
                                                                     that webpage
                                                                          webpage does Cryo-Cell
                                                                                  does Cryo-Cell

   explain what
   explain what "viability
                “viability record"
                           record” means.
                                   means. Read
                                          Read without
                                               without the
                                                       the crucial
                                                           crucial context
                                                                   context that
                                                                           that Cryo-Cell
                                                                                Cryo-Cell buries
                                                                                          buries

   through two
   through two subsequent
               subsequent links,
                          links, aa reasonable
                                    reasonable consumer
                                               consumer would
                                                        would conclude
                                                              conclude that
                                                                       that the
                                                                            the viability
                                                                                viability record
                                                                                          record

   refers to
   refers to the
             the percentage
                 percentage of
                            of instances
                               instances in which aa donor's
                                         in which    donor’s cord
                                                             cord blood
                                                                  blood can
                                                                        can be
                                                                            be used
                                                                               used to
                                                                                    to treat
                                                                                       treat the
                                                                                             the 80-plus
                                                                                                 80-plus

   diseases that
   diseases that Cryo-Cell
                 Cryo-Cell repeatedly
                           repeatedly markets-especially
                                      markets—especially when
                                                         when combined
                                                              combined with
                                                                       with other
                                                                            other statements
                                                                                  statements like
                                                                                             like

   “[s]omeone’s own
   "[s]omeone's own stem
                    stem cells
                         cells are
                               are always
                                   always aa perfect
                                             perfect match
                                                     match for him or
                                                           for him    herself.” 30
                                                                   or herself."3°


      28
      28
          Compare
          Compare id.   with Cord
                    id. with      Blood &
                             Cord Blood  & Tissue
                                            Tissue Clinical
                                                   Clinical Trials, CRYO-CELL INT'L
                                                            Trials, CRYO-CELL INT’L (last
                                                                                    (last visited
                                                                                          visited Nov.
                                                                                                  Nov.
   9, 2022), https://www.cryo-cell.com/cord-blood-treating-diseases.
   9, 2022), https://www.cryo-cell.com/cord-blood-treating-diseases.
       29
       29 Cord Blood Banks,
          Cord Blood          supra note
                       Banks, supra  note 19.
                                          19.
       30
       3° The Benefits of
          The Benefits  of Banking, supra note
                           Banking, supra note 14.
                                               14.
                                                      10
                                                      10
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 18 of 29




           28.
           28.    Reasonable as
                  Reasonable as that
                                that take-away
                                     take-away may
                                               may be,
                                                   be, it
                                                       it is
                                                          is aa far cry from
                                                                far cry from what
                                                                             what that
                                                                                  that term
                                                                                       term actually
                                                                                            actually

   means. Clicking
   means. Clicking the
                   the hyperlink
                       hyperlink for
                                 for that
                                     that term
                                          term takes
                                               takes you
                                                     you to
                                                         to Cryo-Cell's
                                                            Cryo-Cell’s "Transplant
                                                                        “Transplant // Infusion
                                                                                       Infusion

   Matrix,” which
   Matrix," which again
                  again fails to define
                        fails to define this term. 31 At
                                        this term.31  At the
                                                         the very
                                                             very bottom
                                                                  bottom of
                                                                         of that
                                                                            that page,
                                                                                 page, Cryo-Cell
                                                                                       Cryo-Cell

   provides another
   provides another link to download
                    link to          the matrix
                            download the matrix as
                                                as aa PDF.
                                                      PDF. Finally,
                                                           Finally, on
                                                                    on the
                                                                       the PDF
                                                                           PDF download,
                                                                               download, Cryo-Cell
                                                                                         Cryo-Cell

   appears to
   appears to suggest
              suggest that
                      that aa 100%
                              100% viability
                                   viability record
                                             record simply
                                                    simply means
                                                           means that
                                                                 that "[a]ll
                                                                      “[a]ll specimens
                                                                             specimens released
                                                                                       released by
                                                                                                by

   Cryo-Cell have
   Cryo-Cell have been
                  been viable
                       viable when thawed.” 32 Even
                              when thawed."32  Even by
                                                    by this
                                                       this definition,
                                                            definition, the
                                                                        the viability
                                                                            viability rate
                                                                                      rate seems
                                                                                           seems

   suspect considering
   suspect considering the
                       the well-known
                           well-known issues
                                      issues with
                                             with thawing
                                                  thawing throughout
                                                          throughout the
                                                                     the industry. Nonetheless, by
                                                                         industry. Nonetheless, by

   either definition
   either definition Defendant's
                     Defendant’s statements
                                 statements are
                                            are designed
                                                designed to
                                                         to intentionally mislead reasonable
                                                            intentionally mislead reasonable

   consumers into
   consumers into believing
                  believing an
                            an entirely
                               entirely false
                                        false set
                                              set of
                                                  of facts.
                                                     facts.

           29.
           29.    Similarly, Cryo-Cell brags
                  Similarly, Cryo-Cell brags that
                                             that "cord
                                                  “cord blood
                                                        blood treatments
                                                              treatments have
                                                                         have been
                                                                              been performed
                                                                                   performed more
                                                                                             more

   than 35,000
   than        times around
        35,000 times around the
                            the globe to treat
                                globe to treat cancers (including lymphoma
                                               cancers (including          and leukemia),
                                                                  lymphoma and            anemias,
                                                                               leukemia), anemias,

   inherited metabolic
   inherited metabolic disorders and some
                       disorders and some solid
                                          solid tumors
                                                tumors and
                                                       and orthopedic repair.” 33 Although
                                                           orthopedic repair."33  Although this
                                                                                           this may
                                                                                                may

   be true
   be true as
           as aa factual matter, it
                 factual matter, it is deeply misleading.
                                    is deeply misleading. The
                                                          The article
                                                              article that
                                                                      that Cryo-Cell
                                                                           Cryo-Cell cites
                                                                                     cites for
                                                                                           for this
                                                                                               this

   proposition is
   proposition is not
                  not limited
                      limited to
                              to private-banking,
                                 private-banking, or
                                                  or even
                                                     even autologous
                                                          autologous treatments
                                                                     treatments or
                                                                                or allogeneic
                                                                                   allogeneic

   treatments between
   treatments between aa donor
                         donor and
                               and aa family
                                      family member.
                                             member. Rather,
                                                     Rather, the
                                                             the article
                                                                 article appears
                                                                         appears to
                                                                                 to reference cord-
                                                                                    reference cord-

   blood transfusions
   blood transfusions in
                      in total—that is, including
                         total—that is, including public
                                                  public cord
                                                         cord blood
                                                              blood bank transplants. 34 In
                                                                    bank transplants.34  In fact, as the
                                                                                            fact, as the

   abstract to
   abstract to that
               that article
                    article states,
                            states, "public
                                    “public banks
                                            banks have
                                                  have released
                                                       released ~30 times more
                                                                —30 times more [umbilical
                                                                               [umbilical cord blood]
                                                                                          cord blood]

   units for
   units     therapy” than
         for therapy" than private
                           private cord-blood banks. 35
                                   cord-blood banks.'




      31
      31 Cord  Blood Transplants:
         Cord Blood   Transplants: Transplant/Infusion           supra note
                                                         Matrix, supra
                                   Transplant/Infusion Matrix,         note 27.
                                                                            27.
      32
      32 Transplant/Infusion   Record: A
          Transplant/Infusion Record:   A History
                                           History of Success, C
                                                   of Success,   RYO-CELL IINT'L
                                                               CRYO-CELL    NT’L (last
                                                                                  (last visited
                                                                                        visited Nov.
                                                                                                Nov. 9,
                                                                                                     9,
   2022), hftps://www.cryo-cell.com/CryoCell/files/54/540b7a87-eaa9-4d6d-8a83-54e874fea4c7.pdf.
   2022), https://www.cryo-cell.com/CryoCell/files/54/540b7a87-eaa9-4d6d-8a83-54e874fea4c7.pdf.
      33
      33 Cord  Blood Banking:
         Cord Blood   Banking: What
                                 What is cord blood
                                      is cord blood banking?,  supra note
                                                     banking?, supra note 16.
                                                                          16.
      34
         K.K. Ballen
      34 K.K.  Ballen et
                      et al.,
                         al., Umbilical  cord blood
                              Umbilical cord         donation: public
                                              blood donation:  public or
                                                                      or private?, NAT’L L
                                                                         private?, NAT'L     IBRARY OF
                                                                                           LIBRARY
   MED. (Oct.
   MED.  (Oct. 2015),
               2015), https://pubmed.ncbi.nlm.nih.gov/26030051/.
                      https://pubmed.ncbi.nlm.nih.gov/26030051/.
      35
         Id.
      35 Id.


                                                      11
                                                      11
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 19 of 29




           30.
           30.    Cryo-Cell likewise
                  Cryo-Cell likewise argues
                                     argues that
                                            that "the
                                                 “the chance
                                                      chance of
                                                             of finding
                                                                finding aa match
                                                                           match [through
                                                                                 [through aa public
                                                                                             public

   cord-blood bank]
   cord-blood bank] is low….” 36 This
                    is low...."36 This is false. "A
                                       is false. “A 2014
                                                    2014 study
                                                         study in the New
                                                               in the New England
                                                                          England Journal of
                                                                                  Journal of

   Medicine found
   Medicine       that, depending
            found that, depending on
                                  on aa patient's
                                        patient's ethnic
                                                  ethnic background,
                                                         background, 66 percent to
                                                                     66 percent to 97 percent can
                                                                                   97 percent can find
                                                                                                  find

   aa suitable
      suitable match
               match among
                     among donated
                           donated umbilical
                                   umbilical cord-blood
                                             cord-blood units or live
                                                        units or      bone-marrow donors
                                                                 live bone-marrow donors in the
                                                                                         in the

   National Marrow
   National Marrow Donor
                   Donor Program's
                         Program’s Be
                                   Be the
                                      the Match Registry.” 37 Defendant
                                          Match Registry."37  Defendant makes
                                                                        makes this
                                                                              this false
                                                                                   false

   statement to
   statement to induce
                induce new parents into
                       new parents into purchasing
                                        purchasing its product, keeping
                                                   its product,         them in
                                                                keeping them    the dark
                                                                             in the dark about
                                                                                         about aa free,
                                                                                                  free,

   public option
   public option for cord blood
                 for cord blood treatments.
                                treatments.

           31.
           31.    There are numerous
                  There are          other potential
                            numerous other potential shortcomings
                                                     shortcomings with
                                                                  with private-blood
                                                                       private-blood banking
                                                                                     banking that
                                                                                             that

   Cryo-Cell attempts
   Cryo-Cell attempts to
                      to sweep
                         sweep under
                               under the
                                     the rug.
                                         rug. For
                                              For example, Cryo-Cell touts
                                                  example, Cryo-Cell touts "promising
                                                                           “promising research"
                                                                                      research”

   into cord-blood's
   into cord-blood’s potential
                     potential to
                               to treat
                                  treat conditions
                                        conditions like heart disease,
                                                   like heart disease, Alzheimer's,
                                                                       Alzheimer’s, and
                                                                                    and diabetes.
                                                                                        diabetes. But
                                                                                                  But

   for those conditions,
   for those conditions, as
                         as of
                            of 2020,
                               2020, no
                                     no therapy
                                        therapy had
                                                had made
                                                    made it
                                                         it past
                                                            past Phase
                                                                 Phase 22 trials,
                                                                          trials, much
                                                                                  much less earned FDA
                                                                                       less earned FDA

   approval. 38 Further,
   approval.38  Further, unlike
                         unlike public
                                public banks,
                                       banks, which
                                              which are
                                                    are heavily
                                                        heavily regulated
                                                                regulated by
                                                                          by the
                                                                             the FDA,
                                                                                 FDA, private
                                                                                      private banks
                                                                                              banks

   like Cryo-Cell do
   like Cryo-Cell do not
                     not need
                         need to
                              to meet
                                 meet the
                                      the same
                                          same quality
                                               quality or
                                                       or viability
                                                          viability standards
                                                                    standards and
                                                                              and sometimes
                                                                                  sometimes do
                                                                                            do not
                                                                                               not

   impose aa floor
   impose    floor on
                   on how
                      how many
                          many stem
                               stem cells
                                    cells must
                                          must be
                                               be collected.
                                                  collected. That
                                                             That is,
                                                                  is, there
                                                                      there is
                                                                            is no
                                                                               no guarantee
                                                                                  guarantee that
                                                                                            that the
                                                                                                 the

   banked cord-blood
   banked cord-blood will
                     will contain
                          contain enough
                                  enough stem
                                         stem cells
                                              cells for
                                                    for aa successful
                                                           successful transplant,
                                                                      transplant, particularly
                                                                                  particularly for older
                                                                                               for older

   children or
   children or adults.
               adults.

           32.
           32.    Given these
                  Given these facts, it is
                              facts, it is no
                                           no wonder
                                              wonder that
                                                     that prominent
                                                          prominent institutions
                                                                    institutions like
                                                                                 like the
                                                                                      the American
                                                                                          American

   College of
   College of Obstetricians
              Obstetricians and
                            and Gynecologists
                                Gynecologists state
                                              state that
                                                    that "[s]toring
                                                         “[s]toring aa child's
                                                                       child’s stem
                                                                               stem cells in aa private
                                                                                    cells in    private
                                                                   39
   bank as
   bank as ‘insurance’ against future
           `insurance' against future disease
                                      disease is
                                              is not
                                                 not recommended.”
                                                     recommended."39  But this
                                                                      But this has
                                                                               has not
                                                                                   not stopped
                                                                                       stopped Cryo-
                                                                                               Cryo-

   Cell from
   Cell      aggressively pushing
        from aggressively pushing its
                                  its misleading
                                      misleading and
                                                 and false
                                                     false advertising
                                                           advertising efforts.
                                                                       efforts. As
                                                                                As aa result
                                                                                      result of
                                                                                             of those
                                                                                                those



      36
      36  The Benefits of
          The Benefits of Banking, supra note
                          Banking, supra note 14.
                                              14.
      37
      37  Grant, supra
          Grant, supra note
                       note 23.
                            23.
      38
      38  Dana Jannar,
          Dana           Should You
                 Jannar, Should      Bank Your
                                You Bank         Baby’s Cord
                                           Your Baby's               N.Y. T
                                                             Blood?, N.Y.
                                                        Cord Blood?,            (Dec. 18,
                                                                           IMES (Dec.
                                                                          TIMES       18, 2020),
                                                                                          2020),
   https://www.nytimes.com/2020/12/18/parenting/pregnancy/cord-blood-banking.html.
   https://www.nytimes.com/2020/12/18/parenting/pregnancy/cord-blood-banking.html.
       39
       39 Cord Blood Banking:
          Cord Blood  Banking: FAQs,   supra note
                                FAQs, supra  note 1.
                                                  1.
                                                      12
                                                      12
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 20 of 29




   efforts, tens
   efforts, tens of
                 of thousands
                    thousands of
                              of parents
                                 parents will
                                         will be
                                              be out
                                                 out thousands
                                                     thousands of
                                                               of dollars
                                                                  dollars for
                                                                          for aa service
                                                                                 service they
                                                                                         they and
                                                                                              and their
                                                                                                  their

   children will
   children will never
                 never be
                       be able
                          able to
                               to use.
                                  use. Cryo-Cell,
                                       Cryo-Cell, meanwhile,
                                                  meanwhile, has
                                                             has reaped
                                                                 reaped hundreds
                                                                        hundreds of
                                                                                 of millions
                                                                                    millions of
                                                                                             of

   dollars from
   dollars      expectant parents.
           from expectant parents.


                           CLASS REPRESENTATION ALLEGATIONS
                           CLASS REPRESENTATION ALLEGATIONS

             33.
             33.   Plaintiff asserts
                   Plaintiff asserts her
                                     her claims as aa class
                                         claims as          action pursuant
                                                      class action pursuant to
                                                                            to Fla.
                                                                               Fla. R.
                                                                                    R. Civ.
                                                                                       Civ. P.
                                                                                            P. 1.220.
                                                                                               1.220.

             34.
             34.   Plaintiff seeks
                   Plaintiff seeks certification
                                   certification of
                                                 of aa class
                                                       class of
                                                             of all
                                                                all consumers
                                                                    consumers in
                                                                              in the
                                                                                 the United
                                                                                     United States who
                                                                                            States who

   contracted with
   contracted with Defendant
                   Defendant for
                             for private
                                 private cord
                                         cord blood
                                              blood banking,
                                                    banking, because
                                                             because each
                                                                     each class
                                                                          class member's
                                                                                member’s contract
                                                                                         contract

   contains aa choice
   contains    choice of
                      of law provision applying
                         law provision applying Florida
                                                Florida law.
                                                        law.

             35.
             35.   The Class consists
                   The Class consists of
                                      of all
                                         all United
                                             United States residents, including
                                                    States residents, including Plaintiff,
                                                                                Plaintiff, who:
                                                                                           who: (a)
                                                                                                (a) on
                                                                                                    on or
                                                                                                       or

   after May
   after May 18,
             18, 2018;
                 2018; (b)
                       (b) contracted
                           contracted with
                                      with Cryo-Cell
                                           Cryo-Cell for
                                                     for cord
                                                         cord blood
                                                              blood collection
                                                                    collection or
                                                                               or storage
                                                                                  storage services;
                                                                                          services;

   (c) agreed
   (c) agreed in their contracts
              in their contracts with
                                 with Cryo-Cell
                                      Cryo-Cell to
                                                to store
                                                   store cord
                                                         cord blood
                                                              blood for
                                                                    for aa fee;
                                                                           fee; (d)
                                                                                (d) have
                                                                                    have fully
                                                                                         fully performed
                                                                                               performed

   their contractual
   their contractual obligations;
                     obligations; and
                                  and (e)
                                      (e) have
                                          have not
                                               not used
                                                   used their
                                                        their child's
                                                              child’s banked
                                                                      banked cord blood for
                                                                             cord blood for any
                                                                                            any medical
                                                                                                medical

   purpose. The
   purpose. The class
                class period
                      period will
                             will be
                                  be from
                                     from May
                                          May 18,
                                              18, 2018,
                                                  2018, to
                                                        to the
                                                           the date
                                                               date of
                                                                    of class certification (hereinafter
                                                                       class certification (hereinafter

   the "Class
   the “Class Period").
              Period”).

             36.
             36.   Plaintiff reserves
                   Plaintiff reserves the
                                      the right
                                          right to
                                                to amend
                                                   amend this
                                                         this definition
                                                              definition as
                                                                         as discovery
                                                                            discovery proceeds
                                                                                      proceeds and
                                                                                               and to
                                                                                                   to

   conform to
   conform to the
              the evidence.
                  evidence.

             37.
             37.   Excluded from the
                   Excluded from the Class
                                     Class are
                                           are Cryo-Cell,
                                               Cryo-Cell, its agents, representatives,
                                                          its agents, representatives, and
                                                                                       and employees;
                                                                                           employees;

   any judge
   any judge to
             to whom
                whom this
                     this action
                          action is assigned; and
                                 is assigned; and any
                                                  any member
                                                      member of
                                                             of that
                                                                that judge's
                                                                     judge’s staff
                                                                             staff and
                                                                                   and immediate
                                                                                       immediate

   family.
   family.

             38.
             38.   While the
                   While the exact
                             exact number
                                   number of
                                          of Class
                                             Class Members
                                                   Members is unknown at
                                                           is unknown at this
                                                                         this time,
                                                                              time, Plaintiff
                                                                                    Plaintiff

   submits that,
   submits that, upon
                 upon information
                      information and
                                  and belief,
                                      belief, there
                                              there are
                                                    are thousands
                                                        thousands of
                                                                  of individuals
                                                                     individuals throughout
                                                                                 throughout the
                                                                                            the United
                                                                                                United

   States who are
   States who are potential
                  potential Class
                            Class Members
                                  Members in
                                          in this
                                             this action.
                                                  action. Because
                                                          Because the
                                                                  the Class
                                                                      Class Members
                                                                            Members are
                                                                                    are so
                                                                                        so

   numerous, individual
   numerous, individual joinder
                        joinder of
                                of these
                                   these Class
                                         Class Members
                                               Members is
                                                       is impracticable.
                                                          impracticable.


                                                       13
                                                       13
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 21 of 29




          39.
          39.       Plaintiff further
                    Plaintiff         alleges that
                              further alleges that the
                                                   the Class
                                                       Class Members
                                                             Members will
                                                                     will be
                                                                          be ascertainable
                                                                             ascertainable through
                                                                                           through Cryo-
                                                                                                   Cryo-

   Cell’s electronic
   Cell's electronic records, data, and
                     records, data, and databases.
                                        databases.

          40.
          40.       There are common
                    There are common questions of law
                                     questions of law and/or
                                                      and/or fact shared by
                                                             fact shared by Plaintiff
                                                                            Plaintiff and
                                                                                      and each
                                                                                          each

   member of
   member of the
             the Class.
                 Class. These common questions
                        These common questions of
                                               of law and/or fact
                                                  law and/or fact include, but are
                                                                  include, but are not limited to,
                                                                                   not limited to,

   the following:
   the following:

                    a.
                    a.     Whether Cryo-Cell's
                           Whether Cryo-Cell’s marketing
                                               marketing tactics
                                                         tactics and
                                                                 and other
                                                                     other conduct were deceptive,
                                                                           conduct were deceptive,

                    unfair, false,
                    unfair,        or misleading
                            false, or misleading to
                                                 to aa reasonable
                                                       reasonable consumer;
                                                                  consumer;

                    b.
                    b.     Whether Cryo-Cell
                           Whether Cryo-Cell breached
                                             breached its
                                                      its contractual
                                                          contractual obligations;
                                                                      obligations;

                    c.
                    c.     Whether Plaintiff
                           Whether Plaintiff and
                                             and the
                                                 the Class
                                                     Class Members
                                                           Members conferred
                                                                   conferred aa benefit
                                                                                benefit upon
                                                                                        upon Cryo-
                                                                                             Cryo-

                    Cell, and
                    Cell, and whether
                              whether Cryo-Cell
                                      Cryo-Cell accepted
                                                accepted and
                                                         and retained
                                                             retained that
                                                                      that benefit;
                                                                           benefit;

                    d.
                    d.     Whether it
                           Whether    would be
                                   it would be inequitable
                                               inequitable for
                                                           for Cryo-Cell
                                                               Cryo-Cell to
                                                                         to retain the benefits
                                                                            retain the benefits it
                                                                                                it

                    accepted from
                    accepted from Plaintiff
                                  Plaintiff and
                                            and the
                                                the Class
                                                    Class Members;
                                                          Members;

                    e.
                    e.     Whether Plaintiff
                           Whether Plaintiff and
                                             and the
                                                 the Class
                                                     Class Members
                                                           Members acted
                                                                   acted in
                                                                         in reliance
                                                                            reliance on
                                                                                     on Cryo-Cell's
                                                                                        Cryo-Cell’s

                    knowing false
                    knowing false statements
                                  statements or
                                             or misrepresentations;
                                                misrepresentations;

                    f.
                    f.     Whether any
                           Whether any of
                                       of Cryo-Cell's
                                          Cryo-Cell’s conduct
                                                      conduct caused
                                                              caused injury to Plaintiff
                                                                     injury to Plaintiff and
                                                                                         and the
                                                                                             the Class
                                                                                                 Class

                    Members.
                    Members.

          41.
          41.       Based on
                    Based on the
                             the above
                                 above questions
                                       questions of
                                                 of law and fact,
                                                    law and fact, Plaintiff's
                                                                  Plaintiff’s claims
                                                                              claims are
                                                                                     are typical
                                                                                         typical of
                                                                                                 of the
                                                                                                    the

   claims that
   claims that would
               would be
                     be asserted
                        asserted by
                                 by other
                                    other Class
                                          Class Members
                                                Members in that, in
                                                        in that,    proving her
                                                                 in proving her claims
                                                                                claims under
                                                                                       under Florida
                                                                                             Florida

   law, she will
   law, she will simultaneously
                 simultaneously prove
                                prove the
                                      the claims
                                          claims of
                                                 of all
                                                    all Class
                                                        Class Members.
                                                              Members. The rights afforded
                                                                       The rights afforded under
                                                                                           under

   Florida law
   Florida     are the
           law are the same
                       same for
                            for Plaintiff
                                Plaintiff and
                                          and Class
                                              Class Members.
                                                    Members. Each
                                                             Each Class
                                                                  Class Member
                                                                        Member had
                                                                               had the
                                                                                   the same
                                                                                       same

   interaction with
   interaction with Cryo-Cell.
                    Cryo-Cell.

          42.
          42.       Plaintiff is
                    Plaintiff is aa Class
                                    Class Member.
                                          Member. She is an
                                                  She is an adequate
                                                            adequate representative of the
                                                                     representative of the Class
                                                                                           Class

   Members because
   Members because her
                   her interests
                       interests do
                                 do not
                                    not conflict with the
                                        conflict with the interests of other
                                                          interests of other Class
                                                                             Class Members,
                                                                                   Members, and
                                                                                            and she
                                                                                                she



                                                       14
                                                       14
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 22 of 29




   will fairly
   will fairly and
               and adequately
                   adequately protect
                              protect their
                                      their interests.
                                            interests. Additionally,
                                                       Additionally, Plaintiff
                                                                     Plaintiff is
                                                                               is cognizant
                                                                                  cognizant of
                                                                                            of her
                                                                                               her

   responsibility as
   responsibility as aa class
                        class representative
                              representative and
                                             and has
                                                 has retained
                                                     retained experienced
                                                              experienced counsel
                                                                          counsel fully capable of,
                                                                                  fully capable of, and
                                                                                                    and

   intent upon,
   intent upon, vigorously
                vigorously pursuing
                           pursuing the
                                    the action.
                                        action. Class
                                                Class counsel have extensive
                                                      counsel have           experience in
                                                                   extensive experience in class
                                                                                           class

   action litigation.
   action litigation.

           43.
           43.      Plaintiff’s cause
                    Plaintiff's cause of
                                      of action
                                         action against
                                                against Cryo-Cell
                                                        Cryo-Cell may
                                                                  may be
                                                                      be maintained
                                                                         maintained as
                                                                                    as aa class
                                                                                          class action
                                                                                                action

   under Fla.
   under Fla. R.
              R. Civ.
                 Civ. P.
                      P. 1.220(b)(1)(A),
                         1.220(b)(1)(A), because
                                         because the
                                                 the prosecution
                                                     prosecution of
                                                                 of separate
                                                                    separate claims
                                                                             claims by
                                                                                    by individual
                                                                                       individual

   Class Members
   Class Members would
                 would create
                       create aa risk
                                 risk of
                                      of inconsistent
                                         inconsistent or
                                                      or varying
                                                         varying adjudications
                                                                 adjudications for
                                                                               for Class
                                                                                   Class Members,
                                                                                         Members,

   which would
   which would establish
               establish incompatible standards of
                         incompatible standards of conduct
                                                   conduct for Cryo-Cell.
                                                           for Cryo-Cell.

                                                 COUNT
                                                 COUNT II

                 FLORIDA DECEPTIVE AND
                 FLORIDA DECEPTIVE AND UNFAIR
                                       UNFAIR TRADE
                                              TRADE PRACTICES ACT
                                                    PRACTICES ACT

           44.
           44.      Plaintiff re-alleges
                    Plaintiff            paragraphs 1-43
                              re-alleges paragraphs 1-43 as
                                                         as if
                                                            if fully set forth
                                                               fully set       herein and
                                                                         forth herein and further alleges
                                                                                          further alleges

   the following.
   the following.

           45.
           45.      Count II is
                    Count    is brought
                                brought pursuant
                                        pursuant to
                                                 to the
                                                    the Florida
                                                        Florida Deceptive
                                                                Deceptive and
                                                                          and Unfair
                                                                              Unfair Trade Practices
                                                                                     Trade Practices

   Act ("FDUTPA").
   Act (“FDUTPA”). Plaintiff
                   Plaintiff brings
                             brings Count
                                    Count II individually
                                             individually and
                                                          and for the Class
                                                              for the Class Members
                                                                            Members defined
                                                                                    defined above.
                                                                                            above.

           46.
           46.      At all
                    At all material
                           material times,
                                    times, Plaintiff
                                           Plaintiff and
                                                     and all
                                                         all Class
                                                             Class Members
                                                                   Members were
                                                                           were consumers
                                                                                consumers within
                                                                                          within the
                                                                                                 the

   meaning of
   meaning of Fla.
              Fla. Stat. § 501.203
                   Stat. § 501.203 and
                                   and are
                                       are entitled
                                           entitled to
                                                    to relief
                                                       relief under
                                                              under FDUTPA
                                                                    FDUTPA in
                                                                           in accordance
                                                                              accordance with
                                                                                         with Fla.
                                                                                              Fla.

   Stat. § 501.211.
   Stat. § 501.211.

           47.
           47.      At all
                    At all material
                           material times,
                                    times, Cryo-Cell
                                           Cryo-Cell conducted trade and
                                                     conducted trade and commerce
                                                                         commerce within
                                                                                  within the
                                                                                         the meaning
                                                                                             meaning

   of Fla.
   of Fla. Stat. § 501.203.
           Stat. § 501.203.

           48.
           48.      Cryo-Cell has
                    Cryo-Cell has engaged
                                  engaged in
                                          in objectively
                                             objectively unlawful schemes and
                                                         unlawful schemes and courses of conduct
                                                                              courses of conduct

   through one
   through one or
               or more
                  more of
                       of the
                          the unfair
                              unfair and
                                     and deceptive
                                         deceptive acts
                                                   acts and
                                                        and practices
                                                            practices alleged
                                                                      alleged above,
                                                                              above, which
                                                                                     which were
                                                                                           were

   likely to deceive
   likely to deceive aa consumer
                        consumer acting
                                 acting reasonably
                                        reasonably in
                                                   in the
                                                      the same
                                                          same circumstances.
                                                               circumstances.




                                                       15
                                                       15
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 23 of 29




          49.
          49.       The misrepresentations and
                    The misrepresentations and deceptions,
                                               deceptions, and
                                                           and concealment
                                                               concealment and
                                                                           and omissions of material
                                                                               omissions of material

   facts alleged in
   facts alleged    the preceding
                 in the preceding paragraphs,
                                  paragraphs, occurred
                                              occurred in
                                                       in connection with Cryo-Cell's
                                                          connection with Cryo-Cell’s trade
                                                                                      trade and
                                                                                            and

   commerce in
   commerce    Florida.
            in Florida.

          50.
          50.       Cryo-Cell’s unfair
                    Cryo-Cell's unfair and
                                       and deceptive
                                           deceptive acts
                                                     acts and
                                                          and practices
                                                              practices violate
                                                                        violate Fla.
                                                                                Fla. Stat. § 501.204.
                                                                                     Stat. § 501.204.

          51.
          51.       Cryo-Cell’s FDUTPA
                    Cryo-Cell's FDUTPA violations
                                       violations aggrieved
                                                  aggrieved Plaintiff,
                                                            Plaintiff, allowing
                                                                       allowing her
                                                                                her to
                                                                                    to seek
                                                                                       seek

   declaratory relief
   declaratory relief on
                      on behalf
                         behalf of
                                of the
                                   the Class
                                       Class Members
                                             Members under
                                                     under Fla.
                                                           Fla. Stat. § 501.211(1).
                                                                Stat. § 501.211(1).

          52.
          52.       Further, Plaintiff
                    Further, Plaintiff and
                                       and the
                                           the Class
                                               Class Members
                                                     Members have
                                                             have suffered
                                                                  suffered losses because of
                                                                           losses because of Cryo-
                                                                                             Cryo-

   Cell’s unfair
   Cell's unfair and
                 and deceptive
                     deceptive acts,
                               acts, and
                                     and thus
                                         thus Plaintiff
                                              Plaintiff seeks
                                                        seeks actual
                                                              actual damages
                                                                     damages pursuant
                                                                             pursuant to
                                                                                      to Fla.
                                                                                         Fla. Stat. §
                                                                                              Stat. §

   501.211(2), on behalf
   501.211(2), on behalf of
                         of herself
                            herself and
                                    and the
                                        the Class
                                            Class Members,
                                                  Members, in
                                                           in an
                                                              an amount
                                                                 amount to
                                                                        to be
                                                                           be proved
                                                                              proved at
                                                                                     at trial.
                                                                                        trial.

          53.
          53.       Plaintiff also
                    Plaintiff also seeks
                                   seeks on
                                         on behalf
                                            behalf of
                                                   of herself
                                                      herself and
                                                              and the
                                                                  the Class
                                                                      Class Members,
                                                                            Members, her
                                                                                     her reasonable
                                                                                         reasonable

   attorneys’ fees
   attorneys' fees and
                   and costs
                       costs pursuant
                             pursuant to
                                      to Fla.
                                         Fla. Stat. § 501.2105.
                                              Stat. § 501.2105.


                                                COUNT
                                                COUNT II
                                                      II

                                       BREACH OF
                                       BREACH OF CONTRACT
                                                 CONTRACT

          54.
          54.       Plaintiff re-alleges
                    Plaintiff            paragraphs 1-43
                              re-alleges paragraphs 1-43 as
                                                         as if
                                                            if fully set forth
                                                               fully set       herein and
                                                                         forth herein and further alleges
                                                                                          further alleges

   the following.
   the following.

          55.
          55.       Count II
                    Count II is
                             is aa breach
                                   breach of
                                          of contract
                                             contract claim
                                                      claim brought
                                                            brought under
                                                                    under Florida
                                                                          Florida law. Plaintiff brings
                                                                                  law. Plaintiff brings

   Count II
   Count II individually and for
            individually and for the
                                 the Class
                                     Class Members.
                                           Members.

          56.
          56.       Plaintiff and
                    Plaintiff and each
                                  each of
                                       of the
                                          the Class
                                              Class Members
                                                    Members entered
                                                            entered into
                                                                    into valid
                                                                         valid contracts
                                                                               contracts with
                                                                                         with Cryo-Cell
                                                                                              Cryo-Cell

   for the collection
   for the collection and
                      and storage
                          storage of
                                  of cord
                                     cord blood.
                                          blood.

          57.
          57.       Plaintiff and
                    Plaintiff and the
                                  the Class
                                      Class Members
                                            Members have
                                                    have fully
                                                         fully performed
                                                               performed their
                                                                         their obligations
                                                                               obligations under
                                                                                           under the
                                                                                                 the

   contracts.
   contracts.




                                                       16
                                                       16
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 24 of 29




           58.
           58.      Cryo-Cell materially
                    Cryo-Cell materially breached
                                         breached those
                                                  those contracts
                                                        contracts by
                                                                  by promising
                                                                     promising to
                                                                               to supply
                                                                                  supply services
                                                                                         services that
                                                                                                  that

   it cannot
   it cannot fulfill,
             fulfill, including,
                      including, for example, autologous
                                 for example, autologous transplants
                                                         transplants of
                                                                     of cord blood for
                                                                        cord blood for FDA-approved
                                                                                       FDA-approved

   treatments.
   treatments.

           59.
           59.      Plaintiff and
                    Plaintiff and the
                                  the Class
                                      Class Members
                                            Members have
                                                    have suffered
                                                         suffered damages,
                                                                  damages, in an amount
                                                                           in an amount to
                                                                                        to be
                                                                                           be proven
                                                                                              proven

   at trial,
   at trial, because
             because of
                     of Cryo-Cell's
                        Cryo-Cell’s material
                                    material breach.
                                             breach.


                                                COUNT III
                                                COUNT III

                                         UNJUST
                                         UNJUST ENRICHMENT
                                                ENRICHMENT

           60.
           60.      Plaintiff re-alleges
                    Plaintiff            paragraphs 1-43
                              re-alleges paragraphs 1-43 as
                                                         as if
                                                            if fully set forth
                                                               fully set       herein and
                                                                         forth herein and further alleges
                                                                                          further alleges

   the following.
   the following.

           61.
           61.      Count III
                    Count III is an unjust
                              is an unjust enrichment
                                           enrichment claim
                                                      claim brought
                                                            brought under
                                                                    under Florida
                                                                          Florida law. Plaintiff brings
                                                                                  law. Plaintiff brings

   Count III
   Count III individually and for
             individually and     the Class
                              for the Class Members.
                                            Members. To the extent
                                                     To the        necessary, Plaintiff
                                                            extent necessary, Plaintiff pleads
                                                                                        pleads Count
                                                                                               Count

   III
   III in the alternative
       in the alternative to
                          to Count
                             Count II.
                                   II.

           62.
           62.      Plaintiff and
                    Plaintiff and all
                                  all Class
                                      Class Members
                                            Members conferred
                                                    conferred aa benefit
                                                                 benefit on
                                                                         on Cryo-Cell
                                                                            Cryo-Cell through
                                                                                      through the
                                                                                              the

   payment of
   payment of fees intended to
              fees intended to pay
                               pay for collection and
                                   for collection and storage
                                                      storage services
                                                              services offered
                                                                       offered by
                                                                               by Cryo-Cell.
                                                                                  Cryo-Cell.

           63.
           63.      Cryo-Cell voluntarily
                    Cryo-Cell voluntarily accepted
                                          accepted and
                                                   and retained the benefit
                                                       retained the benefit that
                                                                            that Plaintiff
                                                                                 Plaintiff and
                                                                                           and the
                                                                                               the Class
                                                                                                   Class

   Members conferred
   Members           on Cryo-Cell,
           conferred on Cryo-Cell, with
                                   with full
                                        full knowledge that its
                                             knowledge that its acceptance
                                                                acceptance and
                                                                           and retention
                                                                               retention of
                                                                                         of those
                                                                                            those

   fees bore virtually
   fees bore virtually no
                       no relationship to the
                          relationship to the services
                                              services Cryo-Cell
                                                       Cryo-Cell advertises.
                                                                 advertises.

           64.
           64.      Under the
                    Under the circumstances
                              circumstances of
                                            of Cryo-Cell's
                                               Cryo-Cell’s objectively deceptive, unfair,
                                                           objectively deceptive, unfair, and
                                                                                          and

   fraudulent acts described
   fraudulent acts described above,
                             above, it
                                    it would
                                       would be
                                             be inequitable
                                                inequitable to
                                                            to allow
                                                               allow Cryo-Cell
                                                                     Cryo-Cell to
                                                                               to retain this benefit
                                                                                  retain this benefit

   without paying
   without paying the
                  the value
                      value of
                            of the
                               the benefit
                                   benefit to
                                           to Plaintiff
                                              Plaintiff and
                                                        and the
                                                            the Class
                                                                Class Members.
                                                                      Members.




                                                       17
                                                       17
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 25 of 29




                                                COUNT IV
                                                COUNT IV

                                       DECLARATORY JUDGMENT
                                       DECLARATORY JUDGMENT

          65.
          65.       Plaintiff re-alleges
                    Plaintiff            paragraphs 1-43
                              re-alleges paragraphs 1-43 as
                                                         as if
                                                            if fully set forth
                                                               fully set       herein and
                                                                         forth herein and further alleges
                                                                                          further alleges

   the following.
   the following.

          66.
          66.       Count IV
                    Count IV is
                             is aa claim for aa declaratory
                                   claim for    declaratory judgment
                                                            judgment pursuant
                                                                     pursuant to
                                                                              to Chapter
                                                                                 Chapter 86, Florida
                                                                                         86, Florida

   Statutes. Plaintiff brings
   Statutes. Plaintiff brings Count
                              Count IV
                                    W individually  and for
                                       individually and for the
                                                            the Class
                                                                Class Members.
                                                                      Members.

          67.
          67.       Plaintiff does
                    Plaintiff does not
                                   not seek
                                       seek aa forward-looking declaration, but
                                               forward-looking declaration, but merely
                                                                                merely seeks
                                                                                       seeks aa

   declaration resolving
   declaration resolving aa present
                            present controversy
                                    controversy concerning
                                                concerning past
                                                           past acts.
                                                                acts.

          68.
          68.       A bona
                    A bona fide controversy presently
                           fide controversy presently exists
                                                      exists between
                                                             between Plaintiff
                                                                     Plaintiff and
                                                                               and the
                                                                                   the Class
                                                                                       Class Members
                                                                                             Members

   on one
   on one hand
          hand and
               and Cryo-Cell
                   Cryo-Cell on
                             on the
                                the other,
                                    other, as
                                           as to
                                              to whether
                                                 whether Cryo-Cell
                                                         Cryo-Cell has
                                                                   has violated
                                                                       violated FDUTPA,
                                                                                FDUTPA, breached
                                                                                        breached

   its contracts
   its contracts with
                 with Plaintiff
                      Plaintiff and
                                and the
                                    the Class
                                        Class Members,
                                              Members, or
                                                       or otherwise
                                                          otherwise violated
                                                                    violated applicable
                                                                             applicable law.
                                                                                        law.

          69.
          69.       Plaintiff is
                    Plaintiff is an
                                 an interested party who
                                    interested party who is
                                                         is in doubt about
                                                            in doubt about and
                                                                           and seeks
                                                                               seeks aa declaration
                                                                                        declaration

   regarding the
   regarding the Class
                 Class Members'
                       Members’ and
                                and her
                                    her rights and legal
                                        rights and legal relationships with regard
                                                         relationships with        to their
                                                                            regard to their contracts
                                                                                            contracts

   with Cryo-Cell
   with Cryo-Cell and
                  and the
                      the application
                          application of
                                      of applicable
                                         applicable law.
                                                    law.

          70.
          70.       Plaintiff’s interests
                    Plaintiff's interests are
                                          are adverse
                                              adverse to
                                                      to Cryo-Cell,
                                                         Cryo-Cell, as
                                                                    as Plaintiff's
                                                                       Plaintiff’s claims
                                                                                   claims against
                                                                                          against it could
                                                                                                  it could

   be detrimental
   be detrimental to
                  to Cryo-Cell's
                     Cryo-Cell’s business
                                 business practices
                                          practices and
                                                    and financial
                                                        financial state.
                                                                  state. Further,
                                                                         Further, the
                                                                                  the Plaintiff's
                                                                                      Plaintiff’s

   requested declaration
   requested declaration deals
                         deals with
                               with present,
                                    present, ascertainable
                                             ascertainable facts.
                                                           facts. Plaintiff
                                                                  Plaintiff does
                                                                            does not
                                                                                 not seek
                                                                                     seek aa declaration
                                                                                             declaration

   regarding future
   regarding future facts
                    facts or
                          or rights.
                             rights.

          71.
          71.       Plaintiff and
                    Plaintiff and all
                                  all putative
                                      putative Class
                                               Class Members
                                                     Members are
                                                             are in
                                                                 in the
                                                                    the same
                                                                        same predicament,
                                                                             predicament, each
                                                                                          each

   suffering from
   suffering from Cryo-Cell's
                  Cryo-Cell’s violations
                              violations of
                                         of state
                                            state law
                                                  law and
                                                      and breaches
                                                          breaches of
                                                                   of the
                                                                      the parties'
                                                                          parties’ contracts.
                                                                                   contracts.

          72.
          72.       The
                    The rights, status, or
                        rights, status, or equitable relations of
                                           equitable relations of the
                                                                  the parties
                                                                      parties are
                                                                              are affected
                                                                                  affected by
                                                                                           by the
                                                                                              the express
                                                                                                  express

   terms of
   terms of the
            the policy
                policy and
                       and Florida
                           Florida law.
                                   law. Accordingly,
                                        Accordingly, pursuant
                                                     pursuant to
                                                              to Chapter
                                                                 Chapter 86, Florida Statutes,
                                                                         86, Florida Statutes,




                                                       18
                                                       18
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 26 of 29




   Plaintiff and
   Plaintiff and the
                 the Class
                     Class Members
                           Members may
                                   may obtain
                                       obtain aa declaration
                                                 declaration of
                                                             of rights,
                                                                rights, status,
                                                                        status, or
                                                                                or other
                                                                                   other equitable
                                                                                         equitable or
                                                                                                   or

   legal
   legal relations thereunder.
         relations thereunder.

           73.
           73.     Chapter 86,
                   Chapter     Florida Statutes,
                           86, Florida Statutes, is state substantive
                                                 is state substantive law,
                                                                      law, which
                                                                           which is
                                                                                 is to
                                                                                    to be
                                                                                       be liberally
                                                                                          liberally

   administered and
   administered and construed.
                    construed. See § 86.101
                               See §        Fla. Stat.
                                     86.101 Fla. Stat.

           74.
           74.     Section
                   Section 86.111, Florida Statutes
                           86.111, Florida          states: "The
                                           Statutes states: “The existence
                                                                 existence of
                                                                           of another
                                                                              another adequate
                                                                                      adequate remedy
                                                                                               remedy

   does not
   does     preclude aa judgment
        not preclude    judgment for
                                 for declaratory relief.” Thus,
                                     declaratory relief"  Thus, regardless
                                                                regardless of
                                                                           of whether
                                                                              whether damages
                                                                                      damages are
                                                                                              are

   available to
   available to Plaintiff
                Plaintiff and
                          and the
                              the Class
                                  Class Members,
                                        Members, the
                                                 the Court
                                                     Court may
                                                           may determine
                                                               determine the
                                                                         the parties'
                                                                             parties’ respective
                                                                                      respective

   rights, status,
   rights, status, and
                   and other
                       other equitable or legal
                             equitable or legal relations
                                                relations under
                                                          under the
                                                                the parties'
                                                                    parties’ contracts
                                                                             contracts and
                                                                                       and applicable
                                                                                           applicable law.
                                                                                                      law.

           75.
           75.     Section
                   Section 86.011(2), Florida Statutes
                           86.011(2), Florida          states: "[t]he
                                              Statutes states: “[t]he court
                                                                      court may
                                                                            may render declaratory
                                                                                render declaratory

   judgment on
   judgment on the
               the existence,
                   existence, or
                              or non-existence
                                 non-existence .. .. .. Of
                                                        Of any
                                                           any fact
                                                               fact upon
                                                                    upon which
                                                                         which the
                                                                               the existence or
                                                                                   existence or

   nonexistence of
   nonexistence of such
                   such immunity,
                        immunity, power,
                                  power, privilege,
                                         privilege, or
                                                    or right
                                                       right does
                                                             does or
                                                                  or may
                                                                     may depend,
                                                                         depend, whether
                                                                                 whether such
                                                                                         such

   immunity, power,
   immunity, power, privilege,
                    privilege, or
                               or right now exists
                                  right now        or will
                                            exists or will arise
                                                           arise in
                                                                 in the
                                                                    the future.”
                                                                        future." Thus, the Court
                                                                                 Thus, the Court may
                                                                                                 may

   determine whether
   determine whether Cryo-Cell
                     Cryo-Cell has
                               has breached
                                   breached its
                                            its contracts with Plaintiff
                                                contracts with Plaintiff and
                                                                         and the
                                                                             the Class
                                                                                 Class Members
                                                                                       Members or
                                                                                               or

   whether Cryo-Cell
   whether Cryo-Cell has
                     has otherwise
                         otherwise violated
                                   violated applicable
                                            applicable law.
                                                       law.

           76.
           76.     Section
                   Section 86.021, Florida Statutes
                           86.021, Florida          states: "Any
                                           Statutes states: “Any person
                                                                 person claiming to be
                                                                        claiming to be interested or
                                                                                       interested or

   who may
   who may be
           be in doubt about
              in doubt about his
                             his or
                                 or her
                                    her rights
                                        rights under
                                               under aa .. .. .. contract
                                                                 contract .. .. .. may
                                                                                   may have
                                                                                       have determined
                                                                                            determined any
                                                                                                       any

   question of
   question of construction or validity
               construction or validity arising
                                        arising under
                                                under such
                                                      such .. .. .. contract
                                                                    contract .. .. .. or
                                                                                      or any
                                                                                         any part
                                                                                             part thereof,
                                                                                                  thereof, and
                                                                                                           and

   obtain aa declaration
   obtain    declaration of
                         of rights,
                            rights, status,
                                    status, or
                                            or other
                                               other equitable
                                                     equitable or
                                                               or legal
                                                                  legal relations thereunder.” Thus,
                                                                        relations thereunder." Thus, the
                                                                                                     the

   Court may
   Court may determine
             determine the
                       the rights of "any
                           rights of “any person"
                                          person” (such
                                                  (such as
                                                        as Plaintiff
                                                           Plaintiff or
                                                                     or each
                                                                        each Class
                                                                             Class Member)
                                                                                   Member) who
                                                                                           who is
                                                                                               is

   in doubt
   in doubt about
            about his
                  his or
                      or her
                         her rights under their
                             rights under their contracts
                                                contracts with
                                                          with Cryo-Cell
                                                               Cryo-Cell and
                                                                         and any
                                                                             any applicable
                                                                                 applicable laws.
                                                                                            laws.

           77.
           77.     Section 86.031, Florida
                   Section 86.031, Florida Statutes states: "Any
                                           Statutes states: “Any declaratory
                                                                 declaratory judgment
                                                                             judgment rendered
                                                                                      rendered

   pursuant to
   pursuant to this
               this chapter
                    chapter may
                            may be
                                be rendered
                                   rendered by
                                            by way
                                               way of
                                                   of anticipation
                                                      anticipation with
                                                                   with respect
                                                                        respect to
                                                                                to any
                                                                                   any act
                                                                                       act not
                                                                                           not yet
                                                                                               yet

   done or
   done or any
           any event
               event which
                     which has
                           has not
                               not yet
                                   yet happened,
                                       happened, and
                                                 and in
                                                     in such
                                                        such case the judgment
                                                             case the judgment shall
                                                                               shall have
                                                                                     have the
                                                                                          the same
                                                                                              same



                                                         19
                                                         19
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 27 of 29




   binding effect
   binding        with respect
           effect with respect to
                               to that
                                  that future act or
                                       future act or event,
                                                     event, and
                                                            and the
                                                                the rights
                                                                    rights or
                                                                           or liability to arise
                                                                              liability to arise therefrom,
                                                                                                 therefrom,

   as if
   as if that
         that act
              act or
                  or event
                     event had
                           had already
                               already been
                                       been done
                                            done or
                                                 or had
                                                    had already
                                                        already happened
                                                                happened before
                                                                         before the
                                                                                the judgment
                                                                                    judgment was
                                                                                             was

   rendered.” This
   rendered."      statute confirms
              This statute confirms that
                                    that the
                                         the Court
                                             Court may
                                                   may determine
                                                       determine whether
                                                                 whether Cryo-Cell's
                                                                         Cryo-Cell’s past
                                                                                     past actions
                                                                                          actions

   breached its
   breached its contracts with Plaintiff
                contracts with Plaintiff and
                                         and the
                                             the Class
                                                 Class Members.
                                                       Members.

           78.
           78.     Section
                   Section 86.071, Florida Statutes
                           86.071, Florida          states, in
                                           Statutes states, in pertinent
                                                               pertinent part,
                                                                         part, that
                                                                               that when
                                                                                    when aa declaratory
                                                                                            declaratory

   action "concerns
   action “concerns the
                    the determination
                        determination of
                                      of an
                                         an issue
                                            issue of
                                                  of fact, the issue
                                                     fact, the       may be
                                                               issue may be tried
                                                                            tried as
                                                                                  as issues of fact
                                                                                     issues of fact are
                                                                                                    are

   tried in
   tried in other
            other civil
                  civil actions
                        actions in
                                in the
                                   the court
                                       court in
                                             in which
                                                which the
                                                      the proceeding
                                                          proceeding is
                                                                     is pending."
                                                                        pending.” Thus, the existence
                                                                                  Thus, the existence of
                                                                                                      of

   disputed fact
   disputed fact issues does not
                 issues does not prevent
                                 prevent the
                                         the Court
                                             Court from providing declaratory
                                                   from providing declaratory relief
                                                                              relief under
                                                                                     under Chapter
                                                                                           Chapter 86.
                                                                                                   86.

           79.
           79.     Section
                   Section 86.061, Florida Statutes
                           86.061, Florida          provides, in
                                           Statutes provides, in pertinent
                                                                 pertinent part
                                                                           part that
                                                                                that the
                                                                                     the courts may grant
                                                                                         courts may grant

   further or supplemental
   further or supplemental relief based on
                           relief based on aa declaratory
                                              declaratory judgment.
                                                          judgment. Thus, the Court
                                                                    Thus, the Court may
                                                                                    may grant
                                                                                        grant further
                                                                                              further

   or supplemental
   or supplemental relief
                   relief based
                          based on
                                on aa declaratory
                                      declaratory judgment.
                                                  judgment.

           80.
           80.     Plaintiff’s and
                   Plaintiff's and the
                                   the Class
                                       Class Members'
                                             Members’ rights depend on
                                                      rights depend on the
                                                                       the Court's
                                                                           Court’s determination
                                                                                   determination of
                                                                                                 of

   the facts
   the       and application
       facts and application of
                             of the
                                the facts to law
                                    facts to     to resolve
                                             law to resolve the
                                                            the disputes
                                                                disputes contained
                                                                         contained herein.
                                                                                   herein.

           81.
           81.     Individually, and on
                   Individually, and on behalf
                                        behalf of
                                               of the
                                                  the Class
                                                      Class Members
                                                            Members defined
                                                                    defined above,
                                                                            above, Plaintiff
                                                                                   Plaintiff now
                                                                                             now

   petitions for
   petitions for aa declaration
                    declaration that
                                that Cryo-Cell's
                                     Cryo-Cell’s willful
                                                 willful misrepresentations
                                                         misrepresentations and
                                                                            and omissions provide aa
                                                                                omissions provide

   basis for
   basis     rescission of
         for rescission of the
                           the contracts of Plaintiff
                               contracts of Plaintiff and
                                                      and Class
                                                          Class Members.
                                                                Members.

           82.
           82.     Individually, and on
                   Individually, and on behalf
                                        behalf of
                                               of the
                                                  the Class
                                                      Class Members
                                                            Members defined
                                                                    defined above,
                                                                            above, Plaintiff
                                                                                   Plaintiff and
                                                                                             and the
                                                                                                 the

   Class Members
   Class Members seek
                 seek recission
                      recission of
                                of their
                                   their contracts
                                         contracts with
                                                   with Cryo-Cell
                                                        Cryo-Cell based
                                                                  based on
                                                                        on the
                                                                           the declaration
                                                                               declaration they
                                                                                           they seek
                                                                                                seek

   here.
   here.

                                                COUNT V
                                                COUNT V

                                     FRAUDULENT
                                     FRAUDULENT INDUCMENT
                                                INDUCMENT

           83.
           83.     Plaintiff re-alleges
                   Plaintiff re-alleges paragraphs
                                        paragraphs 1-43
                                                   1-43 as
                                                        as if fully set
                                                           if fully set forth herein and
                                                                        forth herein and also
                                                                                         also alleges
                                                                                              alleges the
                                                                                                      the

   following.
   following.



                                                       20
                                                       20
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 28 of 29




          84.
          84.      This
                   This is
                        is aa count
                              count for fraudulent inducement.
                                    for fraudulent inducement.

          85.
          85.      Cryo-Cell, as
                   Cryo-Cell, as detailed
                                 detailed in
                                          in the
                                             the allegations
                                                 allegations herein,
                                                             herein, made
                                                                     made multiple
                                                                          multiple false
                                                                                   false statements
                                                                                         statements

   concerning material
   concerning material facts
                       facts related
                             related to
                                     to aa parent's
                                           parent’s decision
                                                    decision to
                                                             to purchase
                                                                purchase cord blood banking
                                                                         cord blood banking services.
                                                                                            services.

        supra, ¶
   See, supra,
   See,        ¶ 21.
                 21.

          86.
          86.      Cryo-Cell knew
                   Cryo-Cell knew at
                                  at the
                                     the time
                                         time of
                                              of making
                                                 making these
                                                        these representations
                                                              representations that
                                                                              that they
                                                                                   they were
                                                                                        were false
                                                                                             false and
                                                                                                   and

   an inaccurate
   an            representation of
      inaccurate representation of what
                                   what Cryo-Cell's
                                        Cryo-Cell’s services
                                                    services could provide to
                                                             could provide to Plaintiff
                                                                              Plaintiff and
                                                                                        and Class
                                                                                            Class

   Members.
   Members.

          87.
          87.      In making these
                   In making these misrepresentations,
                                   misrepresentations, Cryo-Cell
                                                       Cryo-Cell intended to induce
                                                                 intended to        action by
                                                                             induce action by

   Plaintiff and
   Plaintiff and Class
                 Class Members.
                       Members. Specifically, Cryo-Cell sought
                                Specifically, Cryo-Cell sought to
                                                               to induce
                                                                  induce new
                                                                         new parents
                                                                             parents into purchasing
                                                                                     into purchasing

   its services,
   its services, thereby
                 thereby committing to spend
                         committing to spend thousands
                                             thousands of
                                                       of dollars,
                                                          dollars, while
                                                                   while knowing that its
                                                                         knowing that     services
                                                                                      its services

   could not
   could not provide
             provide the
                     the benefits
                         benefits that
                                  that Cryo-Cell
                                       Cryo-Cell claimed.
                                                 claimed.

          88.
          88.      Plaintiff and
                   Plaintiff and Class
                                 Class Members
                                       Members relied
                                               relied on
                                                      on these
                                                         these false
                                                               false statements
                                                                     statements to
                                                                                to their
                                                                                   their detriment,
                                                                                         detriment, as
                                                                                                    as

   each spent
   each spent thousands
              thousands of
                        of dollars
                           dollars for services that
                                   for services that are
                                                     are wholly
                                                         wholly unable
                                                                unable to
                                                                       to meet
                                                                          meet their
                                                                               their intended
                                                                                     intended and
                                                                                              and

   represented purpose.
   represented purpose.


                                         PRAYER FOR
                                         PRAYER     RELIEF
                                                FOR RELIEF

          Plaintiff and
          Plaintiff and the
                        the Class
                            Class Members
                                  Members the
                                          the following
                                              following relief:
                                                        relief:

                a. Certification
                a. Certification of
                                 of the
                                    the Class;
                                        Class;

                b. A
                b. A monetary
                     monetary judgment
                              judgment against
                                       against Cryo-Cell
                                               Cryo-Cell for actual damages
                                                         for actual damages suffered
                                                                            suffered by
                                                                                     by Plaintiff
                                                                                        Plaintiff

                and the
                and the Class
                        Class Members;
                              Members;

                c. A declaratory
                c. A             judgment that
                     declaratory judgment that Cryo-Cell
                                               Cryo-Cell violated
                                                         violated FDUTPA,
                                                                  FDUTPA, breached
                                                                          breached its contracts
                                                                                   its contracts

                with the
                with the Class
                         Class Members,
                               Members, and
                                        and has been unjustly
                                            has been          enriched;
                                                     unjustly enriched;




                                                      21
                                                      21
Case 9:23-cv-80405-AMC Document 1-2 Entered on FLSD Docket 03/14/2023 Page 29 of 29




                d. The
                d.     costs of
                   The costs of this
                                this action,
                                     action, including
                                             including reasonable attorney’s fees
                                                       reasonable attorney's fees and
                                                                                  and pre-judgment
                                                                                      pre-judgment and
                                                                                                   and

               post-judgment
               post          interest as
                    judgment interest as provided
                                         provided by
                                                  by law;
                                                     law; and
                                                          and

                e.
                e. Such other relief
                   Such other relief as
                                     as the
                                        the Court
                                            Court deems
                                                  deems just
                                                        just and
                                                             and proper.
                                                                 proper.


                                               JURY DEMAND
                                               JURY DEMAND


           Plaintiff demands
           Plaintiff demands aa trial
                                trial by
                                      by jury
                                         jury on
                                              on all
                                                 all claims
                                                     claims so
                                                            so triable.
                                                               triable.




   Date: January
   Date: January 6, 2023
                 6, 2023                                  Respectfully submitted,
                                                          Respectfully submitted,


                                                             s/ Alec
                                                             s/ Alec H.
                                                                     H. Schultz
                                                                         Schultz
                                                             Alec H.
                                                             Alec  H. Schultz
                                                                      Schultz
                                                             Carly A.
                                                             Carly A. Kligler
                                                                       Kligler
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                                                             Counsel for Plaintiff
                                                             Counselfor  Plaintiff and
                                                                                   and the Proposed
                                                                                       the Proposed
                                                             Class
                                                             Class




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